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 15    JULIE BARFUSS, et al.
 16

 17

 18                        UNITED STATES DISTRICT COURT
 19                      CENTRAL DISTRICT OF CALIFORNIA
 20
       JULIE BARFUSS, RANDY FLOYD
 21    BARFUSS, SELENA MONETTE                Case No.: 2:23-cv-01114-GW (KKx)
       MILLER, RUMER HENRY, CHRISTY
 22    LABONNE, KRIS LABONNE,
       COURTNEY BUTLER, DANIELLE              SECOND AMENDED [FIRST
 23    LIPS, CASSANDRA DIAMOND,               AMENDED FEDERAL, PER FED. R.
       EDWARD HAKOBJANYAN, JOSE R.            CIV. P. 15(a)(1)] COMPLAINT
 24    HERNANDEZ, MELISSA AYALA
       QUINTERO, JENNIFER USELTON,            FOR DAMAGES AND
 25    CLAY MURRAY, JOSEPH                    EQUITABLE RELIEF
       AKMAKJIAN, LAUREN MICHELE
 26    GOTTHELF, KELLI HERNANDEZ,
       MICHAEL COLLINS, VENISHA
 27    JARDIN, EMILY NIKLAUS DAVIS,           DEMAND FOR JURY TRIAL
       JENNIFER BAGGETT, SARAH
 28    CHATTIN, DARCY RUBINO,

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  1    JENNIFER TIERNEY, KAREN
       BRANDEL, JESSICA BECKER,
  2    JENNIFER BEEMAN, BETSY
       VICTORIA WANNER, KATHRYN
  3    JOHNSON, ANDREW GAUTIERI,
       AYTZA GAUTIERI, MICHAEL
  4    VITULLI, MELONY PUGH,
       ASHLEIGH CAMACHO, ANTHONY
  5    LANNI, ANTHONY LEBLANC,
       DENISE HULL, JENNIFER LANDRY,
  6    KELLY MELTON, KATHLEEN
       MILLIGAN, MORGAN
  7    SMALLWOOD, SEAN
       SMALLWOOD, CRYSTAL WILLIS,
  8    ALYSSA MCCOY, REBECCA COLE,
       ASHLEY BOVE, RUMER HENRY,
  9    DAWN WIEZCROREZ, MARANDA
       GOMEZ, LAUREN KEATING,
 10    MEGHAN CLARKE, TEENA MARIE
       COOK, STEPHANIE PALMER,
 11    ANNIE PATOTA, PAULA C.
       MILLER, STACI DOWNING,
 12    DELAYNA LUTCHKA, SOFIA
       LEWIS, JESSE ADAMS , AMANDA
 13    FROST, HOLLY TAYSOM,
       THERESA A. STANDING, LAURA
 14    HASTINGS, SABRINA DARNELL,
       CATHERINE BUGDEN, JANIS
 15    HOUSTON, JENNIFER HUDSON,
       MELODY LANGEVIN, KATHLEEN
 16    BEECH, SKYE LANDAU, KYLE
       JORDAN, CINDY DEIMLING,
 17    DANIELLE MUNOZ, ABIGAIL
       ALVORD, MICHAEL BASCONE,
 18    APRIL STUMPE, DEREK
       LEVESQUE, KILEY KRZYZEK,
 19    DANIEL REYES, ROSEMARIE
       PATTERSON, GABRIELLA
 20    BLUNCK, ANTHONY BLUNCK,
       WILLIAM R. NOAH, JIMMY HOANG
 21    TA, CARRIE BASTAIN, BRETT
       ANDREW WALT, AUDREY
 22    COSTAR, ADRIENNE HERNANDEZ,
       JEAN PIERRE ESPINOZO, LAUREN
 23    CHAPPELL, MELINDA SCHNECK,
       LISA DAY, MEGAN JOY SKEUSE,
 24    BEATRIZ AGUILAR, CHRYS
       JARDIN, TERESA EICHINGER,
 25    JACQUELYN BEAN, KIM BEAN,
       MAVERICK WAGNER, DOROTHY
 26    LYNN FENTON, TONI MAE B.
       ABACA, TRACEY ROMAN,
 27    TIMOTHY ELLIS, GLEN BRISTOL,
       SHERRY PONIEWAZ, IRENE
 28    PEREZ, NIKITA RAMIREZ,

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  1    KANDICE BRIDGES, EILEEN
       HAUBRICH, DEBORAH SNOW,
  2    SAMANTHA TOSETTI, KAYLEIGH
       AIELLO, TRACY LE, ASHLEE
  3    UNDERWOOD, NANCY CORDERO,
       ALLISON MCCROAN, MATT
  4    MCCROAN, SALOMON
       PASSARIELLO, KATHERINE
  5    WAGNER, DAVID KILBRIDGE,
       JENNIFER CONTINILLO,
  6    CHRISTOPHER TOTH, HOLLIE
       MEYERS, DORA SCHARF, JASON
  7    SCHACTER, LINDSAY
       LAFOUNTAINE, EMMA EARNEST,
  8    LINDA MARTIN, PATRICK
       DALTON, SOFIA GANZ, JENNIFER
  9    WILKINS, MICHELLE FERA, TRACI
       RENEE O’BRIEN, HOLLY SMITH,
 10    CARMEN FIENGO, MAURA
       MATVEY, SIERRA BRUNNER,
 11    CLEOFI BLASS, KATHERINE
       GLASS, RACHAEL COOMBS,
 12    KAITLIN ROSE GROGG, PAM
       THAXTON, CARLY THAXTON,
 13    BRENDA GALLAGHER, DIANE
       DOUGLAS, JACQUELINE
 14    SONETHANOUPHET, SEAN
       KNEPPER, KIMBERLY
 15    STEVENSON, JENNIFER KELLY,
       ALEXANDRIA MARTELLI,
 16    CENDRA SHEPHERD, JENNI
       TRANWEAVER, TAYLOR
 17    WOOLEY, KATIE YOUNKINS,
       GABRIEL GOMES, FRANK
 18    SCOLARO, WILLIAM O. WATSON,
       ANGELIA BALTHASER, HEATHER
 19    SLACK, ASHLEY QUELLETTE, ED
       MASSUDA, KARISSA PITSTICK,
 20    CYNTHIA C. COLE, WALLY
       NUNEZ, MICHELLE BARTO,
 21    MOLLY RAHE, DEBBIE BROWN,
       JASON BROWN, MICHELLE
 22    ROBBINS, KARL PARTCH,
       CAROLINE MANGAN, SABRINA
 23    HASTINGS, CONRAD HAUBRICH,
       JOHN WILLIS, ELISABETH CLAPP,
 24    SHELLY GRAUPNER, RAFAEL
       ORTIZ III, LORI BREEDLOVE,
 25    DUSTIN SPIELMAN, VIRGINIA
       SPIELMAN, REBECCA BROWN,
 26    KEVIN BROWN, CHAD GILLIGAN,
       KRISTIN GILLIGAN, LOREN
 27    DUNSWORTH, JORI KUBEK,
       MARISSA KIRCHNER, ROBERT
 28    LAYMAN, KACEY L. BURGESS,

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  1    ELIZABETH CAMPBELL, JENNIFER
       MATHIEU, TYREL HARTMAN,
  2    MICHAEL USELTON, REBECCA
       VAN DALE, GRACE VAN DALE,
  3    JESSICA KRIZMAN, CINDY
       MUETH, ANELLA STRUDLER,
  4    JENNIFER HOPPE, ANTONIA
       MASCARI, VERONICA HIGAREDA,
  5    IAN CLITES, ANGELA DUNBAR,
       TATYANA BARDASH, LORA ELLIS,
  6    LARISSA SOLOMON, JESSICA
       TAYLOR, KATHLEEN OWENS,
  7    KENNETH ENGLESON, MONICA
       ENGLESON, NICHOLAS
  8    ENGLESON, JENNIFER VIEIRA,
       CAVAN FARLEY, TIFFANY BRAY,
  9    EMILY GAUDET, ELIZABETH
       ATKINSON, GENESIS BORRERO,
 10    MELISSA BAILEY, ELEANA VILLA,
       TELKA BECKER, MICHELE
 11    FIEDLER, AMY MAUPIN, XIAO
       SEBASTIEN SANG, WENDY
 12    THOMAS, MARY KIRK, MARIBEL
       SERRAO, MADISON SHANER,
 13    ROCHELLE CASTRILLO, MICHAEL
       BERLIN, ROBERT NOAH,
 14    ASHLYNN ALEXANDER, ALYRA
       PARKER, NICHOLAS RITTER
 15    MCGEE, BRUCE NUNELEY, STACY
       LESTAGE, DAWN ADRIAN,
 16    KRISTEN NEWMAN, PENNY
       HARRISON, MARY VANDIVER,
 17    JESSICA VAN WINKLE, MYKENZIE
       DAY, JENNIFER LEMEKE,
 18    SHANNON LARSEN, BRANDY
       ADAMS, BRADLEY EMERSON,
 19    KATHERINE L. EAVES, NATALIE
       CRUZE, JOANNA COOPER, TAMMY
 20    STEEVES, FLOR FLORES, ANGELA
       DINNERVILLE, ANN CLARK, ANNE
 21    ST. CLAIR, AGATHE DAWSON,
       ALEXANDRA PREJZNER, ALEXIS
 22    SCHNATMEIR, ALI MOLAVI,
       ALTON W. DO, ALYSSA DAHLE,
 23    RONNY DAHLE, AMANDA
       DONMOYER, AMY KELLY, JOHN
 24    KELLY, ANDREA RENE PIERCE,
       ANJIE CROW, ARTHUR MEYER JR.,
 25    ASHLEY CATE, ASHLEY
       MCNEALY, BOB BRIDE, CALIE
 26    HOLIAN, CARISSA
       HOPPENWORTH, CATHERINE
 27    HATFIELD, CATHERINE TAIN,
       CHRISTOPHER KING, CHRISTEL
 28    MENA KAFATI, CHRISTINA

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  1    RONDASH, DAVID COOK, DANELL
       GEERTSON, DAWN
  2    CALLAHANDIAMOND DANIELS,
       DONNA FOLLBAUM, ELMER
  3    BUNGER, JEFF FOLLBAUM,
       ELMER BUNGER, ELISA PIRARD,
  4    EMILY GRANDUSKY, EMILY
       MOLLENKOPF, ERICA SIMPSON,
  5    EVA BARNA, GEORGE NICHOLAS,
       HALEY HUSCHKA, HUGH DALY,
  6    ISABEL RODRIGUEZ, ISAI
       VALDEZ, JAMIE HILD, JILL BANA,
  7    JOEL HARRELL, JOHN MONTUORI
       III, JULIANA FUHRMANN, KAITAN
  8    PEREZ, KARA VERBSKY, KAREN
       WHITE, KATIELYN GARELIK,
  9    KEITH MARAVICH, KHARMA
       NOEL, KIMBERLY MCNAUGHTON,
 10    KRISTY VOELKER, LAURA
       BOWERS, BRYAN BOWERS,
 11    LAURA MONDRICK, LAURA L.
       SQUILLACE, LAURA WATSON,
 12    LAURIE STAPLETON, LORI
       RIKARD, MARK RIKARD,
 13    MACKENZIE WRAY, MAGGIE
       OTTEN, MARIA RAMOS, MARK
 14    KIRSCHNER, MARLA DUPREE,
       MELANIE VASQUEZ, MICHAEL
 15    SUSSMAN, MICHELLE JONES,
       NANCY RAMOS, PATRICIA
 16    JULIAN, RACHAEL SHEPLEY,
       RACHAEL TALBOT, RAELICIA
 17    REYES, RANDEE KIRBY,
       RAYMOND CHACE JR., ROBYN
 18    SPENCER, ROSE SHAPIRO, ROY
       SHAULI, SAMANTHA SAUER,
 19    SAMAY GHEEWALA, SANFORD
       GLOVINSKY, BRENDA MARHALL,
 20    SARA HIGGINS, TIM HIGGINS,
       SAVANNAH DAHLQUIST,
 21    SAVANNAH ELIZABETH JONES,
       SHANNON DENZEL-BARTOK,
 22    SHANNON FERN GUYOTT,
       SHANNON TIERNEY, SONYA
 23    ROBEL, STACEY TUCKER,
       STEPHANIE DILAVERI,
 24    STEPHANIE HALCZENKO, SUSAN
       BERNSTEIN, SUSAN CONLON,
 25    TERESA CONRAD, FRED CONRAD,
       TIFFANY LYNN PAUL, TIM DYAR,
 26    TRACY HUYNH and VERONICA
       POLIVANAYA,
 27
                        Plaintiffs,
 28

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  1

  2          vs.
  3    LIVE NATION ENTERTAINMENT,
       INC., TICKETMASTER L.L.C.,
  4    KROENKE SPORTS &
       ENTERTAINMENT, LLC, SOFI
  5    TECHNOLOGIES, INC. and DOES 1
       through 10, inclusive,
  6

  7
                             Defendants.
  8

  9

 10
            As and for their Second Amended Complaint since filing this action in the
 11
      California Superior Court, County of Los Angeles, and their first amendment since
 12
      defendants noticed the removal of the action to this United States District Court,
 13
      plaintiffs allege as follows:
 14
         PROPRIETY OF AMENDMENT, WITHOUT PREJUDICE TO REMAND
 15
            1.     Plaintiffs submit this pleading as the first amendment to the pleading
 16
      as to which defendants noticed removal from the California Superior Court. They
 17
      do so pursuant to Fed. R. Civ. P. 15(a)(1), which provides:
 18
                   A party may amend its pleading once as a matter of course
 19
                   within:
 20
                          (A) 21 days after serving it, or
 21
                          (B) if the pleading is one to which a responsive pleading
 22
                   is required, 21 days after service of a responsive pleading or 21
 23
                   days after service of a motion under Rule 12(b), (e), or (f),
 24
                   whichever is earlier.
 25
      The First Amended Complaint removed from the state court is one that otherwise
 26
      would require a responsive pleading, and defendants have not yet filed one, or a
 27
      motion under Fed. R. Civ. P. 12(b), (e), or (f). Accordingly, plaintiffs submit this
 28

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  1   amended pleading timely, and do so properly as the one amendment in this Court
  2   they may file as a matter of right under Rule 15(a)(1), without “the opposing
  3   party’s written consent or the court’s leave” under Rule 15(a)(2). The Ninth
  4   Circuit recognizes that, where a plaintiff has “amended its complaint once …
  5   before the case was removed to federal court,” it should “ha[ve] the opportunity to
  6   amend its … claim under the Federal Rules.” Me Renee LLC v. Elite World, S.A.,
  7   674 F. App'x 620, 622 (9th Cir. 2016).
  8         2.     As a further threshold matter, plaintiffs submit this amended pleading
  9   without prejudice to their contention that this Court lacks subject matter
 10   jurisdiction to adjudicate this dispute. The right to contest “subject-matter
 11   jurisdiction, because it involves a court’s power to hear a case, can never be
 12   forfeited or waived.” United States v. Cotton, 535 U.S. 625, 630, 122 S. Ct. 1781,
 13   152 L. Ed. 2d 860 (2002). Nevertheless, out of an abundance of caution, plaintiffs
 14   state affirmatively that they do not by this amendment intend to waive, but rather
 15   that they expressly reserve, their right to contest the subject matter jurisdiction of
 16   this Court, including to move to remand the case to the California Superior Court.
 17         3.     This amended pleading identifies numerous additional plaintiffs and
 18   names two more defendants. Plaintiffs do not file this amended pleading to defeat
 19   diversity jurisdiction so as to give the Court discretion to reject it under 28 U.S.C.
 20   § 1447(e); complete diversity did not previously exist in any event, as defendants
 21   purported to remove the case to this Court as a “mass action” under 28 U.S.C. §
 22   1332(d)(11), which does not require complete diversity and is not affected by this
 23   amendment. Rather, plaintiffs will move to remand on the basis that “jurisdiction
 24   shall exist only over those plaintiffs whose claims in a mass action satisfy the
 25   jurisdictional amount requirements under subsection (a)” – i.e., “where the matter
 26   in controversy exceeds the sum or value of $75,000, exclusive of interest and costs
 27   ….” 28 U.S.C. § 1332(a), (d)(11)(B)(i). This amendment will not impact the
 28   likelihood of such a motion succeeding or not, as the Court will decide, as the sole

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  1   issue on that motion, whether defendants shall have proven by a preponderance of
  2   the evidence those particular plaintiffs, numbering at least 100, whose claims meet
  3   the jurisdictional minimum. Dart Cherokee Basin Operating Co., LLC v. Owens,
  4   574 U.S. 81, 88 (2014), citing 28 U.S.C. § 1446(c)(2)(B); Gaus v. Miles, Inc., 980
  5   F.2d 564, 567 (9th Cir. 1992) (“defendant bears the burden of actually proving the
  6   facts to support jurisdiction, including the jurisdictional amount”). This amended
  7   pleading does not detract from that exercise. To the contrary, it makes available
  8   that many more plaintiffs to enable defendants to get to at least a hundred. And, by
  9   identifying the universe of parties that now exist, this amended pleading allows the
 10   Court to decide the issue only once for the parties now named to end up before a
 11   tribunal that has proper subject matter jurisdiction.
 12                       INTRODUCTION RE NATURE OF CASE
 13         4.     Plaintiffs have brought this case to rectify and recover damages for
 14   the anticompetitive conduct of Ticketmaster L.L.C. (“Ticketmaster”). In concert
 15   with (pun intended) its parent company, Live Nation Entertainment, Inc. (“Live
 16   Nation”), Ticketmaster’s misconduct imposes higher prices in the presale, sale and
 17   resale market for music concert tickets. Plaintiff are informed and believe and on
 18   that basis allege that Ticketmaster has effectuated this anticompetitive scheme by
 19   forcing fans of musicians to use Ticketmaster exclusively to buy concert tickets,
 20   for “presales” and well as general sales to the public, at prices that exceed what a
 21   competitive market would dictate, including by requiring the most suitable venues
 22   for large concerts – most of which Live Nation owns and controls, a rare exception
 23   being SoFi Stadium in Inglewood, California, whose owner and major stakeholder
 24   plaintiffs name as defendants in this amended pleading – to use Ticketmaster as
 25   their exclusive ticket provider. Ticketmaster also has forced ticket purchasers to
 26   use, exclusively, its “Secondary Ticket Exchange,” the platform it operates for the
 27   resale of concert tickets.
 28

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  1         5.     Ticketmaster and Live Nation have undertaken this anticompetitive
  2   conduct for the purpose of obtaining sales, resales, service and other fees and
  3   profits that they could not earn in a competitive market for either initial or
  4   secondary ticket sales (referred to herein, respectively, as the “Primary Ticket
  5   Market” and the “Secondary Ticket Market,” and the services in those markets as
  6   “Primary Ticket Services” and ““Secondary Ticket Services,” respectively).
  7   Defendants’ anticompetitive behavior has substantially harmed concertgoers and
  8   will continue to do so unless enjoined judicially, forbidden legislatively, or both.
  9   Fans of mega-star Taylor Swift come within the members of the general public
 10   who have suffered from such wrongful acts. They experienced a well-publicized
 11   ticket presale disaster that occurred on November 15 and 16, 2022, continued with
 12   the cancellation of general sale tickets hitherto scheduled for November 18, 2022,
 13   and led to hearings before the United States Senate Judiciary Committee on
 14   January 24, 2023, whose members openly called upon the Department of Justice
 15   and Federal Trade Commission to investigate and bring legal action to put an end
 16   to Ticketmaster’s abusive practices. About three hundred fifty-five (355)
 17   individual victims of such monopolistic behavior – the plaintiffs herein, each with
 18   his or her own story to tell – seek to do their part toward that end by this action.
 19                              JURISDICTION AND VENUE
 20         6.     Defendants have purported to invoke the subject matter jurisdiction of
 21   this Court by removing this action, for now, from the California Superior Court.
 22   They have cited as a basis for so doing the federal Class Action Fairness Act, 28
 23   U.S.C. § 1332(d). Plaintiffs dispute this position, including in particular pursuant
 24   to 28 U.S.C. § 1332(d)(11)(B)(i), and expressly reserve the right to challenge such
 25   alleged jurisdiction, including by motion to remand.
 26         7.     If this Court does have subject matter jurisdiction in this action, which
 27   plaintiffs deny, venue would properly lie in this judicial district pursuant to 28
 28   U.S.C. §§ 1391(b) and 1441(a).

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   1                                        THE PARTIES
   2 A.     Plaintiffs:
   3         8.     Each of the persons listed below in paragraphs 9 through 363,
   4   inclusive, is an adult individual.
   5         9.     Julie Barfuss resides and is domiciled in Utah.
   6         10.    Randy Floyd Barfuss resides and is domiciled in Utah.
   7         11.    Selena Monette Miller resides and is domiciled in Alabama.
   8         12.    Rumer Henry resides and is domiciled in Arkansas.
   9         13.    Christy LaBonne resides and is domiciled in Arkansas.
  10         14.    Kris LaBonne resides and is domiciled in Arkansas.
  11         15.    Courtney Butler resides and is domiciled in Arizona.
  12         16.    Danielle Lips resides and is domiciled in Arizona.
  13         17.    Cassandra Diamond resides and is domiciled in California.
  14         18.    Edward Hakobjanyan resides and is domiciled in California.
  15         19.    Jose R. Hernandez resides and is domiciled in California.
  16         20.    Melissa Ayala Quintero resides and is domiciled in California.
  17         21.    Jennifer Uselton resides and is domiciled in California.
  18         22.    Clay Murray resides in Rhode Island and is domiciled in California.
  19         23.    Joseph Akmakjian resides and is domiciled in Colorado.
  20         24.    Lauren Michele Gotthelf resides and is domiciled in Colorado.
  21         25.    Kelli Hernandez resides and is domiciled in Colorado.
  22         26.    Michael Collins resides and is domiciled in Florida.
  23         27.    Venisha Jardin resides and is domiciled in Florida.
  24         28.    Emily Niklaus Davis resides and is domiciled in Georgia.
  25         29.    Jennifer Baggett resides and is domiciled in Georgia.
  26         30.    Sarah Chattin resides and is domiciled in Kansas.
  27         31.    Darcy Rubino resides and is domiciled in Massachusetts.
  28         32.    Jennifer Tierney resides and is domiciled in Massachusetts.

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   1        33.   Karen Brandel resides and is domiciled in Michigan.
   2        34.   Jessica Becker resides and is domiciled in North Carolina.
   3        35.   Jennifer Beeman resides and is domiciled in North Carolina.
   4        36.   Betsy Victoria Wanner resides and is domiciled in North Carolina.
   5        37.   Kathryn Johnson resides and is domiciled in North Carolina.
   6        38.   Andrew Gautieri resides and is domiciled in New Jersey.
   7        39.   Aytza Gautieri resides and is domiciled in New Jersey.
   8        40.   Michael Vitulli resides and is domiciled in New Jersey.
   9        41.   Melony Pugh resides and is domiciled in Ohio.
  10        42.   Ashleigh Camacho resides and is domiciled in Pennsylvania.
  11        43.   Anthony Lanni resides and is domiciled in Rhode Island.
  12        44.   Anthony LeBlanc resides and is domiciled in Rhode Island.
  13        45.   Denise Hull resides and is domiciled in Texas.
  14        46.   Jennifer Landry resides and is domiciled in Texas.
  15        47.   Kelly Melton resides and is domiciled in Texas.
  16        48.   Kathleen Milligan resides and is domiciled in Texas.
  17        49.   Morgan Smallwood resides and is domiciled in Texas.
  18        50.   Sean Smallwood resides and is domiciled in Texas.
  19        51.   Crystal Willis resides and is domiciled in Texas.
  20        52.   Alyssa McCoy resides and is domiciled in Virginia.
  21        53.   Rebecca Cole resides and is domiciled in Texas.
  22        54.   Ashley Bove resides and is domiciled in Rhode Island.
  23        55.   Rumer Henry resides and is domiciled in Little Rock, Arkansas.
  24        56.   Dawn Wiezcrorez resides and is domiciled in Chicago, Illinois.
  25        57.   Maranda Gomez resides and is domiciled in Little Rock, Arkansas.
  26        58.   Lauren Keating resides and is domiciled in Albany, New York.
  27        59.   Meghan Clarke resides and is domiciled in Andover, Massachusetts.
  28        60.   Teena Marie Cook resides and is domiciled in Moline, Illinois.

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   1         61.      Stephanie Palmer resides and is domiciled in Derry, New Hampshire.
   2         62.      Annie Patota resides and is domiciled in Norfolk, Virginia.
   3         63.      Paula C. Miller resides and is domiciled in Akron, Ohio.
   4         64.      Staci Downing resides and is domiciled in Pittsburgh, Pennsylvania.
   5         65.      Delayna Lutchka resides and is domiciled in Carterville, Illinois.
   6         66.      Sofia Lewis resides and is domiciled in the United States.
   7         67.      Jesse Adams resides and is domiciled in the United States.
   8         68.      Amanda Frost resides and is domiciled in the United States.
   9         69.      Holly Taysom resides and is domiciled in Saratoga Springs, Utah.
  10         70.      Theresa A. Standing resides and is domiciled in St. Peters, Missouri.
  11         71.      Laura Hastings resides and is domiciled in the United States.
  12         72.      Sabrina Darnell resides and is domiciled in St. Pekin, Illinois.
  13         73.      Catherine Bugden resides and is domiciled in Salt Lake City, Utah.
  14         74.      Janis Houston resides and is domiciled in Naples, Florida.
  15         75.      Jennifer Hudson resides and is domiciled in the United States.
  16         76.      Melody Langevin resides and is domiciled in Casa Grande, Arizona.
  17         77.      Kathleen Beech resides and is domiciled in Studio City, California.
  18         78.      Skye Landau resides and is domiciled in Newton, Massachusetts.
  19         79.      Kyle Jordan resides and is domiciled in Atlanta, Georgia.
  20         80.      Cindy Deimling resides and is domiciled in the United States.
  21         81.      Danielle Munoz resides and is domiciled in Jurupa Valley, California.
  22         82.      Abigail Alvord resides and is domiciled in Veneta, Oregon.
  23         83.      Michael Bascone resides and is domiciled in Howell, New Jersey.
  24         84.      April Stumpe resides and is domiciled in O’Fallon, Missouri.
  25         85.      Derek Levesque resides and is domiciled in Norwell, Massachusetts.
  26         86.      Kiley Krzyzek resides and is domiciled in West Hartford,
  27   Connecticut.
  28         87.      Daniel Reyes resides and is domiciled in College Station, Texas.

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   1         88.     Rosemarie Patterson resides and is domiciled in Milford, New Jersey.
   2         89.     Gabriella Blunck resides and is domiciled in the United States.
   3         90.     Anthony Blunck resides and is domiciled in the United States.
   4         91.     William R. Noah resides and is domiciled in the United States.
   5         92.     Jimmy Hoang Ta resides and is domiciled in Kansas City, Missouri.
   6         93.     Carrie Bastain resides and is domiciled in Evansville, Indiana.
   7         94.     Brett Andrew Walt resides and is domiciled in King of Prussia,
   8   Pennsylvania.
   9         95.     Audrey Costar resides and is domiciled in the United States.
  10         96.     Adrienne Hernandez resides and is domiciled in the United States.
  11         97.     Jean Pierre Espinozo resides and is domiciled in Florida.
  12         98.     Lauren Chappell resides and is domiciled in Jacksonville, Florida.
  13         99.     Melinda Schneck resides and is domiciled in Macungie, Pennsylvania.
  14         100. Lisa Day resides and is domiciled in the United States.
  15         101. Megan Joy Skeuse resides and is domiciled in the United States.
  16         102. Beatriz Aguilar resides and is domiciled in Clanton, Michigan.
  17         103. Chrys Jardin resides and is domiciled in Lutz, Florida.
  18         104. Teresa Eichinger resides and is domiciled in Foboro, Massachusetts.
  19         105. Jacquelyn Bean resides and is domiciled in O’Fallon, Missouri.
  20         106. Kim Bean resides and is domiciled in O’Fallon, Missouri.
  21         107. Maverick Wagner resides and is domiciled in Wake Forest, North
  22   Carolina.
  23         108. Dorothy Lynn Fenton resides and is domiciled in Santa Ana,
  24   California.
  25         109. Toni Mae B. Abaca resides and is domiciled in Union City, New
  26   Jersey.
  27         110. Tracey Roman resides and is domiciled in the United States.
  28         111. Timothy Ellis resides and is domiciled in Clara City, Minnesota.

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   1        112. Glen Bristol resides and is domiciled in Tukwila, Washington.
   2        113. Sherry Poniewaz resides and is domiciled in Hubertus, Wisconsin.
   3        114. Irene Perez resides and is domiciled in Irvine, California.
   4        115. Nikita Ramirez resides and is domiciled in Los Angeles, California.
   5        116. Kandice Bridges resides and is domiciled in Dallas, Texas.
   6        117. Eileen Haubrich resides and is domiciled in the United States.
   7        118. Deborah Snow resides and is domiciled in the United States.
   8        119. Samantha Tosetti resides and is domiciled in Weaverville, California.
   9        120. Kayleigh Aiello resides and is domiciled in New York.
  10        121. Tracy Le resides and is domiciled in Forney, Texas.
  11        122. Ashlee Underwood resides and is domiciled in Dalton, Georgia.
  12        123. Nancy Cordero resides and is domiciled in the United States.
  13        124. Allison McCroan resides and is domiciled in Fort Myers, Florida.
  14        125. Matt McCroan resides and is domiciled in Fort Myers, Florida.
  15        126. Salomon Passariello resides and is domiciled in the United States.
  16        127. Katherine Wagner resides and is domiciled in Dallas, Texas.
  17        128. David Kilbridge resides and is domiciled in the United States.
  18        129. Jennifer Continillo resides and is domiciled in Hickman, California.
  19        130. Christopher Toth resides and is domiciled in Los Angeles, California.
  20        131. Hollie Meyers resides and is domiciled in Upland, Indiana.
  21        132. Dora Scharf resides and is domiciled in North York, Ontario, Canada.
  22        133. Jason Schacter resides and is domiciled in the United States.
  23        134. Lindsay LaFountaine resides and is domiciled in Wilder, Vermont.
  24        135. Emma Earnest resides and is domiciled in Arden, North Carolina.
  25        136. Linda Martin resides and is domiciled in North Carolina.
  26        137. Patrick Dalton resides and is domiciled in Sandwich, Illinois.
  27        138. Sofia Ganz resides and is domiciled in Orlando, Florida.
  28        139. Jennifer Wilkins resides and is domiciled in Oakland, California.

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   1         140. Michelle Fera resides and is domiciled in Chandler, Arizona.
   2         141. Traci Renee O’Brien resides and is domiciled in Flintridge,
   3   California.
   4         142. Holly Smith resides and is domiciled in Brentwood, Tennessee.
   5         143. Carmen Fiengo resides and is domiciled in Houston, Texas.
   6         144. Maura Matvey resides and is domiciled in Washington, D.C..
   7         145. Sierra Brunner resides and is domiciled in Cresson, Pennsylvania.
   8         146. Cleofi Blass resides and is domiciled in Jersey City, New Jersey.
   9         147. Katherine Glass resides and is domiciled in Menlo Park, California.
  10         148. Rachael Coombs resides and is domiciled in Deerfield, New
  11   Hampshire.
  12         149. Kaitlin Rose Grogg resides and is domiciled in Easton, Pennsylvania.
  13         150. Pam Thaxton resides and is domiciled in Cincinnati, Ohio.
  14         151. Carly Thaxton resides and is domiciled in Cincinnati, Ohio.
  15         152. Brenda Gallagher resides and is domiciled in the United States.
  16         153. Diane Douglas resides and is domiciled in the United States.
  17         154. Jacqueline Sonethanouphet resides and is domiciled in the United
  18   States.
  19         155. Sean Knepper resides and is domiciled in Austintown, Ohio.
  20         156. Kimberly Stevenson resides and is domiciled in the United States.
  21         157. Jennifer Kelly resides and is domiciled in Elmhurst, Illinois.
  22         158. Alexandria Martelli resides and is domiciled in the United States.
  23         159. Cendra Shepherd resides and is domiciled in the United States.
  24         160. Jenni Tranweaver resides and is domiciled in the United States.
  25         161. Taylor Wooley resides and is domiciled in Norcross, Georgia.
  26         162. Katie Younkins resides and is domiciled in Cuyahoga Falls, Ohio.
  27         163. Gabriel Gomes resides and is domiciled in the United States.
  28         164. Frank Scolaro resides and is domiciled in the United States.

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   1        165. William O. Watson resides and is domiciled in the United States.
   2        166. Angelia Balthaser resides and is domiciled in the United States.
   3        167. Heather Slack resides and is domiciled in Beverly Massachusetts.
   4        168. Ashley Quellette resides and is domiciled in Pennsauken, New Jersey.
   5        169. Ed Massuda resides and is domiciled in the United States.
   6        170. Karissa Pitstick resides and is domiciled in the United States.
   7        171. Cynthia C. Cole resides and is domiciled in the United States.
   8        172. Wally Nunez resides and is domiciled in Ontario, California.
   9        173. Michelle Barto resides and is domiciled in Maple Shade, New Jersey.
  10        174. Molly Rahe resides and is domiciled in the United States.
  11        175. Debbie Brown resides and is domiciled in Delray Beach, Florida.
  12        176. Jason Brown resides and is domiciled in Delray Beach, Florida.
  13        177. Michelle Robbins resides and is domiciled in the United States.
  14        178. Karl Partch resides and is domiciled in the United States.
  15        179. Caroline Mangan resides and is domiciled in Bellingham,
  16   Washington.
  17        180. Sabrina Hastings resides and is domiciled in Benbrook, Texas.
  18        181. Conrad Haubrich resides and is domiciled in the United States.
  19        182. John Willis resides and is domiciled in Peoria, Illinois.
  20        183. Elisabeth Clapp resides and is domiciled in the United States.
  21        184. Shelly Graupner resides and is domiciled in the United States.
  22        185. Rafael Ortiz III resides and is domiciled in the United States.
  23        186. Lori Breedlove resides and is domiciled in the United States.
  24        187. Dustin Spielman resides and is domiciled in the United States.
  25        188. Virginia Spielman resides and is domiciled in the United States.
  26        189. Rebecca Brown resides and is domiciled in the United States.
  27        190. Kevin Brown resides and is domiciled in the United States.
  28        191. Chad Gilligan resides and is domiciled in Loveland, Ohio.

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   1         192. Kristin Gilligan resides and is domiciled in Loveland, Ohio.
   2         193. Loren Dunsworth resides and is domiciled in Los Angeles, California.
   3         194. Jori Kubek resides and is domiciled in Chicago, Illinois.
   4         195. Marissa Kirchner resides and is domiciled in the United States.
   5         196. Robert Layman resides and is domiciled in Hoover, Alabama.
   6         197. Kacey L. Burgess resides and is domiciled in the United States.
   7         198. Elizabeth Campbell resides and is domiciled in Woodstock, Virginia.
   8         199. Jennifer Mathieu resides and is domiciled in Wheeling, West Virginia.
   9         200. Tyrel Hartman resides and is domiciled in Denver, Colorado.
  10         201. Michael Uselton resides and is domiciled in the United States.
  11         202. Rebecca Van Dale resides and is domiciled in the United States.
  12         203. Grace Van Dale resides and is domiciled in the United States.
  13         204. Jessica Krizman resides and is domiciled in Providence, Rhode Island.
  14         205. Cindy Mueth resides and is domiciled in Smithton, Illinois.
  15         206. Anella Strudler resides and is domiciled in the United States.
  16         207. Jennifer Hoppe resides and is domiciled in the United States.
  17         208. Antonia Mascari resides and is domiciled in Zionsville, Indiana.
  18         209. Veronica Higareda resides and is domiciled in the United States.
  19         210. Ian Clites resides and is domiciled in the United States.
  20         211. Angela Dunbar resides and is domiciled in Louisville, Kentucky.
  21         212. Tatyana Bardash resides and is domiciled in the United States.
  22         213. Lora Ellis resides and is domiciled in New Bern, North Carolina.
  23         214. Larissa Solomon resides and is domiciled in San Francisco,
  24   California.
  25         215. Jessica Taylor resides and is domiciled in the United States.
  26         216. Kathleen Owens resides and is domiciled in the United States.
  27         217. Kenneth Engleson resides and is domiciled in Fuquay Varina, North
  28   Carolina.

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   1         218. Monica Engleson resides and is domiciled in Fuquay Varina, North
   2   Carolina.
   3         219. Nicholas Engleson resides and is domiciled in High Point, North
   4   Carolina.
   5         220. Jennifer Vieira resides and is domiciled in Attleboro, Massachusetts.
   6         221. Cavan Farley resides and is domiciled in the United States.
   7         222. Tiffany Bray resides and is domiciled in Philadelphia, Pennsylvania.
   8         223. Emily Gaudet resides and is domiciled in New Haven, Connecticut.
   9         224. Elizabeth Atkinson resides and is domiciled in Fort Worth, Texas.
  10         225. Genesis Borrero resides and is domiciled in the United States.
  11         226. Melissa Bailey resides and is domiciled in Sutersville, Pennsylvania.
  12         227. Eleana Villa resides and is domiciled in the United States.
  13         228. Telka Becker resides and is domiciled in the United States.
  14         229. Michele Fiedler resides and is domiciled in Philadelphia,
  15   Pennsylvania.
  16         230. Amy Maupin resides and is domiciled in the United States.
  17         231. Xiao Sebastien Sang resides and is domiciled in Cerritos, California.
  18         232. Wendy Thomas resides and is domiciled in the United States.
  19         233. Mary Kirk resides and is domiciled in the United States.
  20         234. Maribel Serrao resides and is domiciled in Long Beach, California.
  21         235. Madison Shaner resides and is domiciled in Denver, Colorado.
  22         236. Rochelle Castrillo resides and is domiciled in the United States.
  23         237. Michael Berlin resides and is domiciled in the United States.
  24         238. Robert Noah resides and is domiciled in the United States.
  25         239. Ashlynn Alexander resides and is domiciled in the United States.
  26         240. Alyra Parker resides and is domiciled in Wilmington, Delaware.
  27         241. Nicholas Ritter McGee resides and is domiciled in the United States.
  28         242. Bruce Nuneley resides and is domiciled in the United States.

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   1        243. Stacy Lestage resides and is domiciled in Sylvania, Ohio.
   2        244. Dawn Adrian resides and is domiciled in Salinas, California.
   3        245. Kristen Newman resides and is domiciled in Escondito, California.
   4        246. Penny Harrison resides and is domiciled in Potomac, Maryland.
   5        247. Mary Vandiver resides and is domiciled in the United States.
   6        248. Jessica Van Winkle resides and is domiciled in the United States.
   7        249. Mykenzie Day resides and is domiciled in the United States.
   8        250. Jennifer Lemeke resides and is domiciled in the United States.
   9        251. Shannon Larsen resides and is domiciled in Oviedo, Florida.
  10        252. Brandy Adams resides and is domiciled in Louisville, Kentucky.
  11        253. Bradley Emerson resides and is domiciled in Austin, Texas.
  12        254. Katherine L. Eaves resides and is domiciled in Norman, Oklahoma.
  13        255. Natalie Cruze resides and is domiciled in the United States.
  14        256. Joanna Cooper resides and is domiciled in the United States.
  15        257. Tammy Steeves resides and is domiciled in the United States.
  16        258. Flor Flores resides and is domiciled in Texas.
  17        259. Angela Dinnerville resides and is domiciled in California.
  18        260. Ann Clark resides and is domiciled in Utah.
  19        261. Anne St. Clair resides and is domiciled in Pennsylvania.
  20        262. Agathe Dawson resides and is domiciled in Texas.
  21        263. Alexandra Prejzner resides and is domiciled in Illinois.
  22        264. Alexis Schnatmeir resides and is domiciled in Missouri.
  23        265. Ali Molavi resides and is domiciled in Florida.
  24        266. Alton W. Do resides and is domiciled in California.
  25        267. Alyssa Dahle resides and is domiciled in California.
  26        268. Ronny Dahle resides and is domiciled in California.
  27        269. Amanda Donmoyer resides and is domiciled in Pennsylvania.
  28        270. Amy Kelly resides and is domiciled in Massachusetts.

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   1        271. John Kelly resides and is domiciled in Massachusetts.
   2        272. Andrea Rene Pierce resides and is domiciled in Illinois.
   3        273. Anjie Crow resides and is domiciled in Tennessee.
   4        274. Arthur Meyer Jr. resides and is domiciled in Arizona.
   5        275. Ashley Cate resides and is domiciled in Washington.
   6        276. Ashley McNealy resides and is domiciled in Tennessee.
   7        277. Bob Bride resides and is domiciled in California.
   8        278. Calie Holian and is domiciled in the United States.
   9        279. Carissa Hoppenworth resides and is domiciled in Michigan.
  10        280. Catherine Hatfield resides and is domiciled in Texas.
  11        281. Catherine Tain resides and is domiciled in Texas.
  12        282. Christopher King resides and is domiciled in Illinois.
  13        283. Christel Mena Kafati resides and is domiciled in Florida.
  14        284. Christina Rondash resides and is domiciled in Kansas.
  15        285. David Cook resides and is domiciled in Colorado.
  16        286. Danell Geertson resides and is domiciled in California.
  17        287. Dawn Callahan resides and is domiciled in Massachusetts.
  18        288. Diamond Daniels resides and is domiciled in Tennessee.
  19        289. Donna Follbaum resides and is domiciled in Michigan.
  20        290. Jeff Follbaum resides and is domiciled in Michigan.
  21        291. Elmer Bunger resides and is domiciled in Ohio.
  22        292. Elisa Pirard resides and is domiciled in California.
  23        293. Emily Grandusky resides and is domiciled in West Virginia.
  24        294. Emily Mollenkopf resides and is domiciled in California.
  25        295. Erica Simpson resides and is domiciled in South Carolina.
  26        296. Eva Barna resides and is domiciled in Georgia.
  27        297. George Nicholas resides and is domiciled in Massachusetts.
  28        298. Haley Huschka resides and is domiciled in Colorado.

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   1        299. Hugh Daly resides and is domiciled in Illinois.
   2        300. Isabel Rodriguez resides and is domiciled in California.
   3        301. Isai Valdez resides and is domiciled in Washington.
   4        302. Jamie Hild resides and is domiciled in Pennsylvania.
   5        303. Jill Bana resides and is domiciled in Illinois.
   6        304. Joel Harrell resides and is domiciled in North Carolina.
   7        305. John Montuori III resides and is domiciled in New Jersey.
   8        306. Juliana Fuhrmann resides and is domiciled in Illinois.
   9        307. Kaitan Perez resides and is domiciled in Texas.
  10        308. Kara Verbsky resides and is domiciled in Colorado.
  11        309. Karen White resides and is domiciled in Connecticut.
  12        310. Katielyn Garelik resides and is domiciled in Michigan.
  13        311. Keith Maravich resides and is domiciled in North Carolina.
  14        312. Kharma Noel resides and is domiciled in West Virginia.
  15        313. Kimberly McNaughton resides and is domiciled in Oklahoma.
  16        314. Kristy Voelker resides and is domiciled in Ohio.
  17        315. Laura Bowers resides and is domiciled in North Carolina.
  18        316. Bryan Bowers resides and is domiciled in North Carolina.
  19        317. Laura Mondrick resides and is domiciled in North Carolina.
  20        318. Laura L. Squillace resides and is domiciled in North Carolina.
  21        319. Laura Watson resides and is domiciled in Florida.
  22        320. Laurie Stapleton resides and is domiciled in Massachusetts.
  23        321. Lori Rikard resides and is domiciled in Alabama.
  24        322. Mark Rikard resides and is domiciled in Alabama.
  25        323. Mackenzie Wray resides and is domiciled in Virginia.
  26        324. Maggie Otten resides and is domiciled in Iowa.
  27        325. Maria Ramos resides and is domiciled in Massachusetts.
  28        326. Mark Kirschner resides and is domiciled in Missouri.

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   1        327. Marla Dupree resides and is domiciled in Texas.
   2        328. Melanie Vasquez resides and is domiciled in Florida.
   3        329. Michael Sussman resides and is domiciled in the United States.
   4        330. Michelle Jones resides and is domiciled in Kentucky.
   5        331. Nancy Ramos resides and is domiciled in California.
   6        332. Patricia Julian resides and is domiciled in Illiniois.
   7        333. Rachael Shepley resides and is domiciled in Illinois.
   8        334. Rachael Talbot resides and is domiciled in Colorado.
   9        335. Raelicia Reyes resides and is domiciled in California.
  10        336. Randee Kirby resides and is domiciled in Tennessee.
  11        337. Raymond Chace Jr. resides and is domiciled in Maryland.
  12        338. Robyn Spencer resides and is domiciled in New Jersey.
  13        339. Rose Shapiro resides and is domiciled in New York.
  14        340. Roy Shauli resides and is domiciled in California.
  15        341. Samantha Sauer resides and is domiciled in Wisconsin.
  16        342. Samay Gheewala resides and is domiciled in Illinois.
  17        343. Sanford Glovinsky resides and is domiciled in North Carolina.
  18        344. Brenda Marhall resides and is domiciled in North Carolina.
  19        345. Sara Higgins resides and is domiciled in Illinois.
  20        346. Tim Higgins resides and is domiciled in Illinois.
  21        347. Savannah Dahlquist resides and is domiciled in Virginia.
  22        348. Savannah Elizabeth Jones resides and is domiciled in Tennessee.
  23        349. Shannon Denzel-Bartok resides and is domiciled in Minnesota.
  24        350. Shannon Fern Guyott resides and is domiciled in Michigan.
  25        351. Shannon Tierney resides and is domiciled in Virginia.
  26        352. Sonya Robel resides and is domiciled in Washington.
  27        353. Stacey Tucker resides and is domiciled in Ohio.
  28        354. Stephanie Dilaveri resides and is domiciled in Kansas.

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   1         355. Stephanie Halczenko resides and is domiciled in Pennsylvania.
   2         356. Susan Bernstein resides and is domiciled in Florida.
   3         357. Susan Conlon resides and is domiciled in California.
   4         358. Teresa Conrad resides and is domiciled in Indiana.
   5         359. Fred Conrad resides and is domiciled in Indiana.
   6         360. Tiffany Lynn Paul resides and is domiciled in Arizona.
   7         361. Tim Dyar resides and is domiciled in South Carolina.
   8         362. Tracy Huynh resides and is domiciled in Texas.
   9         363. Veronica Polivanaya resides and is domiciled in California.
  10   B.    Named Defendants:
  11         364. Defendant Live Nation is a Delaware corporation with its principal
  12   place of business at 9348 Civic Center Drive, Beverly Hills, Calfornia 90210.
  13         365. Defendant Ticketmaster is a wholly owned subsidiary of Live Nation
  14   and is a limited liability company organized and existing under the laws of
  15   Virginia with its principal place of business at 9348 Civic Center Drive, Beverly
  16   Hills, California 90210.
  17         366. Defendant Kroenke Sports & Entertainment, LLC (“KSE”) is a
  18   limited liability company organized and existing under the laws of the state of
  19   Delaware, with its principal place of business in the state of Colorado. Plaintiffs
  20   are informed and believe and on that basis allege that KSE owns SoFi Stadium,
  21   one of the venues for the Taylor Swift concert tour that is the subject of this action.
  22         367. Defendant SoFi Technologies, Inc. (“SoFi”) is a corporation
  23   organized and existing under the laws of the state of Delaware, with its principal
  24   place of business in the state of California. Plaintiffs are informed and believe and
  25   on that basis allege that SoFi pays considerable sums to have its names on and to
  26   sponsor the stadium and the events held there, and receives substantial benefits
  27   from such investment, including from Taylor Swift and other concert ticket sales.
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   1         368. The term “SoFi Stadium” as used hereinafter refers to both KSE and
   2   SoFi collectively.
   3   C.    Fictitiously Named Defendants and Co-Liability:
   4         369. Plaintiffs do not know the true identity, nature and capacity of the
   5   defendants they name herein as Does 1 through 10, inclusive. Plaintiffs are
   6   informed and believe and based thereon allege that each of these defendants is in
   7   some way responsible for the damages and injuries alleged in the complaint.
   8   Plaintiffs are further informed and believe and based thereon allege that Does 1
   9   through 10, inclusive, include but are not limited to the following: various persons,
  10   firms, corporations, organizations and/or other business entities that have
  11   participated as co-conspirators in the conduct, acts, omissions and violations
  12   alleged herein as the basis for liability and have performed acts in furtherance of
  13   these conspiracies.
  14         370. Plaintiffs are informed and believe and based thereon allege that, at all
  15   times material hereto, each of the defendants was the agent, co-conspirator or alter-
  16   ego, and in these or other capacities participated in or had some responsibility for,
  17   the acts of each of its codefendants, including both named and Doe defendants, and
  18   in doing the things hereinafter alleged was acting within the course and scope of
  19   such agency and/or employment, with the permission and consent or at the
  20   direction and control of all their codefendants. As such, unless expressly stated to
  21   the contrary, all references to any defendant herein shall be deemed to include each
  22   and every other defendant, including Does 1 through 10, inclusive.
  23        FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF
  24   A.    The Ticketmaster/Live Nation Stranglehold
  25         371. Ticketmaster is the largest ticketing company and the dominant
  26   provider of Primary Ticket Services in the United States. Published sources as far
  27   back as 1993 have cited its annual revenues at over a billion dollars. E.g., Chicago
  28   Tribune, Microsoft Co-Founder Paul Allen Buys Control of Ticketmaster (Nov. 23,

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   1   1993). In 2010, after acquiring Front Line Management, a premier artist manager
   2   and representation firm, Ticketmaster merged with Live Nation, then the country’s
   3   largest event promoter, which also managed many major artists. That elicited an
   4   antitrust action by the Justice Department and several states that ended in a July
   5   30, 2010 consent decree, ostensibly to curb the merger’s anticompetitive effect. It
   6   hasn’t worked.
   7          372. For many years Ticketmaster has served as the exclusive provider of
   8   Primary Ticket Services for concert venues, most owned or controlled by Live
   9   Nation. Published sources pin Ticketmaster’s share of the Primary Ticket Market
  10   at between 70 and 80 percent. Such dominance allows it essentially to force music
  11   fans and concert venues to use only Ticketmaster for presales and sales of concert
  12   tickets, at prices well exceeding what a competitive market would tolerate.
  13          373. Ticketmaster, including through its TicketExchange, TicketsNow, and
  14   TM+ brands, also acts as the exclusive Secondary Ticket Exchange partner for
  15   most if not all such venues. As discussed more fully below, as part of the exclusive
  16   Secondary Ticket Exchange partnership that Ticketmaster has with these concert
  17   venues, Ticketmaster is promoted as the only “official” Secondary Ticket
  18   Exchange and refuses to allow any other Secondary Ticket Exchange to integrate
  19   technically with the platform by which Ticketmaster sells primary tickets (its
  20   “Primary Ticket Platform”). Taylor Swift ticket holders, therefore, may only use
  21   Ticketmaster as the sole “authorized” channel through which they may sell or
  22   transfer their tickets.
  23   B.     Taylor Swift’s “The Eras” Tour
  24          374. A global superstar named “Artist of the Year” by the American Music
  25   Awards seven times (five more than any other), Taylor Swift just last month began
  26   “The Eras” concert tour, her first since the COVID-19 pandemic made her cancel
  27   the “Lover Fest” tour she had scheduled for 2020. Given Ms. Swift’s status as one
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   1   of the most, if not the most, iconic artists in the world, millions of fans attempted
   2   to purchase tickets to “The Eras” Tour.
   3         375. Ms. Swift, herself or through Taylor Swift Management, contracted
   4   with Ticketmaster for venues regarding Taylor Swift’s “The Eras” Tour. Based on
   5   information and belief, Ticketmaster at all times controlled the registration and
   6   access to Taylor Swift’s “The Eras” Tour tickets. It announced registration for a
   7   TaylorSwiftTix presale during November 1-9, 2022, purporting to guarantee
   8   “leveling the playing field without racing against bots for ticket access.” This
   9   announcement also promised preferred access for “Lover Fest” purchasers to
  10   participate in this sale as “verified” fans. For fans to access this sale, they had to
  11   register via the same Ticketmaster Account as for their “Lover Fest” purchases.
  12   C.    Ticketmaster’s Scheme with Live Nation, Other Stadiums and Resellers for
  13         Concert Tickets Generally
  14         376. Based on information and belief, Ticketmaster has made agreements
  15   with the stadiums in every location of the Taylor Swift tour, including at SoFi
  16   Stadium in Inglewood, California owned by defendant KSE and from which
  17   defendant SoFi receives substantial economic benefits from ticket sales. Such
  18   stadiums are the only venues able to hold large concerts. Because no other venue
  19   can hold half as many people as the stadiums and venues working through
  20   Ticketmaster, Taylor Swift and other popular musicians have no choice but to
  21   work through Ticketmaster. And because artists like Taylor Swift have to go
  22   through Ticketmaster, their fans do as well. This means virtually all major music
  23   concert ticket sales in California and the United States go through Ticketmaster’s
  24   Primary Ticket Platform.
  25         377. Ticketmaster has also expanded into the Secondary Ticket Market.
  26   For years, scalpers have been a problem in that market. Ticketmaster has stated
  27   that it has taken steps to address this issue, but in reality has enabled itself to make
  28   additional profit from the scalped tickets. Ticketmaster forces purchasers of tickets

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   1   from its Primary Ticket Platform to use only Ticketmaster’s Secondary Ticket
   2   Exchange for the resale of those tickets. It also has a little-known reseller program
   3   by which it authorizes third parties essentially to scalp tickets at inflated prices. In
   4   either case, Ticketmaster then gets the higher fees paid by fans left with no choice
   5   but to pay for the “right” to use the Ticketmaster Secondary Ticket Exchange
   6   platform or to buy from authorized “resellers.” By such conduct, Ticketmaster has
   7   strived and succeeded in removing competition from both the Primary and
   8   Secondary Ticket Markets, gaining inflated revenues otherwise unavailable to it.
   9   Instead of competition, Ticketmaster has conspired with stadiums to force fans to
  10   buy more expensive tickets that Ticketmaster gets additional fees from every time
  11   the tickets are resold.
  12         378. Ticketmaster had violated previously violated the terms of its merger
  13   with Live Nation in 2019 after it had retaliated against concert venues that chose
  14   ticketing companies other than Ticketmaster. Based on information and belief,
  15   Ticketmaster has continued this behavior despite increased judicial scrutiny.
  16   D.    Defendants’ Scheme as to Taylor Swift’s “The Eras” Tour
  17         379. Based on information and belief, the central components of
  18   Ticketmaster’s scheme, executed in tandem with its parent Live Nation, are as
  19   follows. First, stadium venues, including SoFi Stadium, contractually require that
  20   the resale of concert tickets be effectuated only through Ticketmaster’s Secondary
  21   Ticket Exchange. These venues have enforced and continue to enforce this
  22   requirement, while Ticketmaster continues to allow scalpers to buy up tickets over
  23   buyers who actually plan to attend the performance. Ticketmaster allows
  24   transferring tickets but buying tickets this way means a buyer needs to send a ticket
  25   reseller money and hope they aren’t being scammed and get the ticket. Because of
  26   how risky buying resold tickets outside of Ticketmaster is, Ticketmaster has left
  27   itself, via its Secondary Ticket Exchange, as the only real choice for buying tickets
  28   previously sold to others.

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   1         380. On November 14, 2022, “verified” fans of the TaylorSwiftTix presale
   2   were sent a code, as well as a link via text to the cell phone associated with the
   3   Ticketmaster registration. The text encouraged login via desktop over using a cell
   4   phone. Based on information and belief, however, thousands of “verified” fans
   5   were not sent codes or sent codes that did not work.
   6         381. Based on information and belief, on November 15, 2022, millions of
   7   “verified” fans that had received codes were unable to purchase tickets. This was
   8   the result of the excessive distribution of codes and the addition of 14 million non-
   9   verified Ticketmaster users that were allowed access to the TaylorSwiftTix presale.
  10         382. Ticketmaster also offered a presale for Taylor Swift’s “The Eras”
  11   Tour tickets via email for Capital One cardholders. The link associated with this
  12   sale opened to Ticketmaster. The same registration was required. The last six
  13   digits of the Capital One cardholder’s account would be used as the code to access
  14   ticket sales on November 16, 2022, at 2:00 pm local venue time. Yet, millions of
  15   fans waited up to eight hours and but could not purchase tickets as a result of
  16   insufficient ticket releases and other issues similar to the prior presale.
  17         383. Ticketmaster had advertised a general ticket sale to Taylor Swift's
  18   “The Eras” tour to begin on November 18, 2022. It canceled the general sale on
  19   November 17, 2022, however, citing insufficient quantity of remaining tickets.
  20         384. Based on information and belief, Ticketmaster intentionally and
  21   purposefully misled ticket purchasers by allowing scalpers and bots access to
  22   TaylorSwiftTix presale. Indeed, it publicly blamed the presale fiasco on what it
  23   described as an unanticipated number of bots crashing its platform.
  24         385. Based on information and belief, Ticketmaster intentionally and
  25   purposefully misled TaylorSwiftTix presale ticketholders by providing codes to 1.4
  26   million “verified’ fans with the option of purchasing six tickets each to three venue
  27   locations. Ticketmaster did not have enough seats to meet the demand this number
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   1   of codes would require. Ticketmaster intentionally provided codes when it could
   2   not satisfy ticket demand.
   3         386. Based on information and belief, Ticketmaster intentionally and
   4   knowingly partnered with Capital One for presale and advertising tickets.
   5   Ticketmaster released less than ten percent of the venues’ seating capacity for this
   6   sale, resulting in millions denied access to even a single ticket. Based on
   7   information and belief, Ticketmaster intentionally and knowingly allowed scalpers
   8   and bots access to this as well as the prior ticket presale.
   9         387. Based on information and belief, Ticketmaster intentionally scheduled
  10   a general sale of tickets knowing it would not have the quantity of tickets needed
  11   to effectuate the sale.
  12         388. Based on information and belief, Ticketmaster allowed tickets to be
  13   resold during the TaylorSwiftTix presale. And Ticketmaster allowed tickets to be
  14   resold during the TaylorSwiftTix presale as if the tickets were at face value
  15   negotiated by Taylor Swift or Taylor Swift Management, when in fact they were
  16   double or triple the negotiated price or more. (On information and belief, Taylor
  17   Swift had arranged for her concert tickets to sell from $49 to $449 each, but good
  18   luck getting a ticket for anywhere close to that range today.) Ticketmaster eagerly
  19   allowed this arrangement, as it gets additional fees every time a ticket is resold.
  20   And Ticketmaster restricts official resales to its own Secondary Ticket Exchange.
  21   E.    Other Consequences of Defendants’ Scheme for Taylor Swift Fans
  22         389. Based on information and belief, Ticketmaster intentionally and
  23   knowingly allowed TaylorSwiftTix presale purchasers to purchase VIP tickets
  24   knowing that the mailed portion of the VIP package would be voided and never
  25   reach the fan.
  26         390. Based on information and belief, Ticketmaster intentionally and
  27   knowingly sold obstructed view tickets without purchasers knowing that the tickets
  28   were obstructed.

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   1         391. Based on information and belief, Ticketmaster intentionally,
   2   knowingly, and oppressively required signatures on a waiver that the purchaser
   3   was not provided adequate time to read, contemplate, or negotiate. This is
   4   illustrated in the millions of fans making multiple failed attempts at ticket check-
   5   out to finish the purchase because tickets had been removed from their basket
   6   without adequate time to check out and purchase tickets.
   7         392. Based on information and belief, Ticketmaster knowingly and
   8   intentionally allowed tickets to be removed from a purchases basket/order before
   9   being allowed adequate time to review waiver, release, and complete purchase.
  10         393. Based on information and belief, Ticketmaster allowed bots and
  11   scalpers to remove tickets from a fan's basket without being allowed adequate time
  12   to complete the sale.
  13         394. Based on information and belief, Ticketmaster allowed ADA-
  14   compliant seats to be sold without verification of disability or need, thus depriving
  15   individuals with disabilities access ADA compliant seats.
  16         395. The policy and spirit of the California antitrust laws are to promote
  17   the free play of competitive market forces and the lower prices to consumers that
  18   result. Ticketmaster is the dominant online venue for concert presale, sale, and
  19   resale in the United States, has violated the policy, spirit, and letter of those laws
  20   by imposing agreements and policies at the retail and wholesale level that have
  21   prevented effective price competition across a wide swath of online ticket sales.
  22         396. Based on information and belief, Ticketmaster claims these
  23   agreements and policies improve customer experiences and keep ticket prices
  24   down. This, in spite of the massive number of customer complaints Ticketmaster
  25   receives every day, the dramatic increase in ticket prices since Ticketmaster
  26   achieved monopoly power, and the excessive service fees Ticketmaster attaches
  27   that are far higher than service fees for any similar service in other markets.
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   1   Ticketmaster is a monopoly that is only interested in taking every dollar it can
   2   from a captive public.
   3         397. California antitrust laws are concerned with protecting market
   4   competition and preventing a single, dominant company from setting overly prices
   5   because of its lack of competitors. Ticketmaster and Live Nation have their own
   6   internal anti-competitive arrangement and have allied with other stadiums to
   7   entrench their dominance to harm consumers in California and across the U.S.
   8                               FIRST CLAIM FOR RELIEF
   9                                    Breach of Contract
  10                                  (Against Ticketmaster)
  11         398. Plaintiffs reallege and incorporate by reference each and every other
  12   paragraph of this complaint as if fully set forth here.
  13   A.    Breach of Contract During the Presale
  14         399. Plaintiffs entered into a contract with Ticketmaster on November 15,
  15   2022, setting forth the covenants, conditions and terms of the parties’ agreement
  16   (“Conract”). The material terms of the Contract include, but are not limited to, the
  17   following: Ticketmaster agreed that, in exchange for Plaintiffs purchasing a
  18   significant amount of merchandise and/or in exchange for their purchase of the
  19   canceled “Lover’s Fest” tickets, Plaintiffs would be entitled to participate in the
  20   presale of “The Eras” tour tickets. Only those individuals who satisfied either of
  21   these conditions would be allowed into the presale via a code as a “verified” fan.
  22   Plaintiffs relied upon and accepted such terms and conditions, thereby purchasing
  23   merchandise and/or otherwise expending funds in connection with the canceled
  24   “Lover’s Fest” tour.
  25         400. Plaintiffs have performed all obligations to Ticketmaster except those
  26   obligations Plaintiffs were prevented or excused from performing.
  27         401. Ticketmaster breached the Contract by failing to actually provide the
  28   proper presale it promised. It did not exclude those without codes. It did not give

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   1   out codes to those who qualified. And it did not give those with codes the fair
   2   chance to get a ticket they were entitled to. Plaintiffs and Ticketmaster had an
   3   agreement leading up to the presale that made the Contract and Ticketmaster
   4   violated it to Plaintiffs’ detriment.
   5         402. As a direct and proximate result of Ticketmaster’s breach of the
   6   Contract, Plaintiffs each have sustained damages in the amount of thousands of
   7   dollars.
   8   B.    Breach of Contract After Ticket Purchase
   9         403. Plaintiffs entered into a Contract with Ticketmaster on or around
  10   November 15, 2022, setting forth the covenants, conditions and terms of the
  11   parties’ agreement. In addition to those set forth in subsection A above, the
  12   material terms of the Contract include, but are not limited to, the following: In
  13   exchange for a stated price, a Plaintiff who completed a purchase online would
  14   receive tickets for that price. However, in breach of that contract, ticket prices
  15   increased during Plaintiffs’ purchases in breach of the Contract for the purchase of
  16   such tickets at a lower stated price.
  17         404. Plaintiffs paid money to Ticketmaster directly or indirectly through
  18   Ticketmaster’s secondary market to receive tickets. By purchasing these tickets,
  19   Plaintiffs were buying the ability to see the Taylor Swift “The Eras” tour in a
  20   specific location and seat. Plaintiffs paid money that was good consideration for
  21   this Contract.
  22         405. Plaintiffs performed all obligations to Ticketmaster. They then
  23   received tickets from Ticketmaster directly or indirectly.
  24         406. Ticketmaster breached the Contract by unjustly and unlawfully taking
  25   tickets away from certain Plaintiffs weeks and months after purchase. It also
  26   breached by providing tickets at seat locations other than those for which Plaintiffs
  27   purchased their tickets, including seats for those with disabilities. Ticketmaster
  28   has given no reason why it took or switched tickets from Plaintiffs’ accounts, and

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   1   many Plaintiffs have not even received a refund or other compensation for their
   2   removed or switched tickets.
   3         407. As a direct and proximate result of Ticketmaster’s breach of the
   4   Contract, Plaintiffs each have sustained damages in the amount of thousands of
   5   dollars.
   6                             SECOND CLAIM FOR RELIEF
   7                                           Fraud
   8                                  (Against All Defendants)
   9         408. Plaintiffs reallege and incorporate by reference each and every other
  10   paragraph of this complaint as if fully set forth here.
  11         409. With the knowing participation of and expectation of benefit by Live
  12   Nation, its stadiums and others including SoFi Stadium, Ticketmaster made false
  13   representations, promises and statements to Plaintiffs about the presale for Taylor
  14   Swift tickets at and before the time of such presale. More particularly, such
  15   misrepresentations and false promises included, among other things, how to and
  16   who could get “codes” and/or otherwise establish themselves as “verified” fans,
  17   how best to get tickets, and who could participate in the presale.
  18         410. Regarding codes, Ticketmaster made representations it knew were
  19   false and promises it had no intention of performing. Among other things,
  20   Ticketmaster claimed that only those with codes would be able to join the presale,
  21   but millions of buyers without codes were able to get tickets. Many of those
  22   without codes were scalpers, and Ticketmaster benefited from scalped tickets as
  23   they must be resold on Ticketmaster, which gets an additional fee.
  24         411. One of the ways buyers such as Plaintiffs could become “verified”
  25   was by spending a certain amount of money on official Taylor Swift merchandise.
  26   Ticketmaster made out that spending enough would get a buyer a code and they
  27   would have a fair chance to get a ticket. Neither statement was true; Ticketmaster
  28   did not give everyone a code that it said was entitled to one. It arbitrarily denied

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   1   codes, even though many Plaintiffs had paid good money to qualify for a code in
   2   reliance on Ticketmaster’s promises. By misleading Plaintiffs, Ticketmaster was
   3   able to get Plaintiffs and many other hopeful ticket purchasers to buy merchandise,
   4   and Ticketmaster benefitted thereby due to its agreements with the merchandise
   5   sellers.
   6          412. By providing “codes” and describing how fans could become
   7   “verified,” Ticketmaster led prospective purchasers, including Plaintiffs, to believe
   8   that they would have a greater likelihood of acquiring tickets by obtaining a code
   9   and/or becoming verified, causing Plaintiffs to part with money in reliance on such
  10   promises and representations. Yet, Ticketmaster failed to disclose that it had sent
  11   more codes than it could accommodate with tickets.
  12          413. Ticketmaster purported to give additional instructions on how to get
  13   tickets. Among other things, it warned buyers, including Plaintiffs, not to use their
  14   phones to purchase tickets from its site. Ticketmaster instead advised using a
  15   laptop or desktop computer. However, not only were phone users able to get
  16   tickets, they also got them ahead of those on computers.
  17          414. Ticketmaster made similar promises and representations to buyers of
  18   the canceled Taylor Swift “Lover Fest” tour – e.g., that their purchases for that
  19   prior tour would advantage them in acquiring tickets for The Eras tour. By making
  20   similar promises to these buyers, which included some Plaintiffs, Ticketmaster was
  21   able to appease any issue these buyers and Plaintiffs had with Ticketmaster’s
  22   handling of the prior tour following its cancelation due to COVID-19.
  23          415. Ticketmaster further reserved tickets for the Capital One sale, a
  24   promotion by which it caused prospective purchasers to believe that participating
  25   in that program would increase their chance of getting tickets. However, the
  26   promotion suffered many of the same issues as the presale. It did not have enough
  27   tickets to supply those attempting to purchase through the Capital One program,
  28   and did not so inform prospective purchasers before they parted with value to

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   1   participate in it. Nor during the Capital One sale did Ticketmaster limit ticket sales
   2   solely to Capital One cardholders.
   3         416. Ticketmaster made the foregoing representations and promises
   4   knowing they were false and without any intent to perform them. Ticketmaster
   5   intended to induce Plaintiffs and other buyers to rely on its false representations
   6   and promises by taking steps that inured to their detriment but to the benefit of
   7   Ticketmaster.
   8         417. Ticketmaster knew the obstacles it would face in the Taylor Swift
   9   presale and the Capital One sale. Yet, it concealed them from prospective
  10   purchasers, including Plaintiffs. It did so intending that Plaintiffs would
  11   participate in these events and part with consideration in reliance on them
  12   functioning smoothly and giving Plaintiffs an enhanced likelihood of acquiring
  13   tickets when in fact the opposite occurred, as Ticketmaster knew it would.
  14         418. Plaintiffs reasonably relied upon Ticketmaster’s material
  15   representations and promises, which Ticketmaster made knowing them to be false
  16   and without any intent actually to perform them. Had Plaintiffs known the true
  17   facts, or that Ticketmaster never intended to perform their promises, Plaintiffs
  18   would not have parted with the additional consideration that Ticketmaster had led
  19   them to believe would give them an advantage in acquiring Taylor Swift tickets.
  20         419. As a direct and proximate result of Ticketmaster’s intentional
  21   misrepresentations and false promises, made with the support and expectation of
  22   benefit by Live Nation, its stadiums and others including SoFi Stadium, Plaintiffs
  23   each have sustained damages in the amount of thousands of dollars.
  24         420. Ticketmaster made the foregoing false representations and promises,
  25   with the support and expectation of benefit by Live Nation, its stadiums and others
  26   including SoFi Stadium, intentionally and maliciously to take advantage of
  27   Plaintiffs and deprive them of their right to have chosen how to act freely based on
  28   information that Ticketmaster should have made available to them truthfully and

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   1   completely. The acts and omissions stated herein thus constitute fraud, oppression
   2   and/or malice as defined in California Civil Code section 3294, entitling Plaintiffs
   3   to recover, in addition to actual damages, punitive damages adequate in light of
   4   their net worth to make an example of and to punish Defendants, in an amount to
   5   be proven at trial.
   6                              THIRD CLAIM FOR RELIEF
   7                               Negligent Misrepresentation
   8                                 (Against All Defendants)
   9         421. Plaintiffs reallege and incorporate by reference each and every other
  10   paragraph of this complaint as if fully set forth here.
  11         422. With the participation of and expectation of benefit by Live Nation,
  12   its stadiums and others including SoFi Stadium, Ticketmaster made the promises
  13   and representations set forth in the Second Claim for Relief above with no
  14   reasonable basis to believe their truth and reasonably expecting Plaintiffs to rely
  15   upon them by parting with value.
  16         423. Defendants in fact did cause Plaintiffs to rely on their false promises
  17   and representations by parting with value exactly as Defendants had expected, for
  18   their own benefit and to the detriment of Plaintiffs, as Plaintiffs did not know the
  19   falsity of the promises and representations at the time Defendants made them.
  20         424. As a direct and proximate result of their justifiable reliance on the
  21   false representations and promises made and/or aided and abetted by Defendants,
  22   Plaintiffs each suffered damages in the thousands of dollars.
  23                             FOURTH CLAIM FOR RELIEF
  24                                         Negligence
  25                         (Against Ticket Master and Live Nation)
  26         425. Plaintiffs reallege and incorporate by reference each and every other
  27   paragraph of this complaint as if fully set forth here.
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   1         426. From the fan’s purchase of a ticket through his or her attendance at an
   2   event, Ticketmaster and Live Nation dominate the entire concert-going experience
   3   in the United States. They hold themselves out as leaders in their field and claim
   4   to provide superior service to all concert-goers starting with their ticket purchases.
   5         427. Ticketmaster knows well the issues it and legitimate ticket buyers face
   6   with bots, scalpers and other unauthorized traffic on its ticket sales platform. It
   7   owes buyers a duty of reasonable care to allow them to use the platform for the
   8   purpose for which Ticket master provides it, and for the platform to function
   9   properly and not cause unreasonable delay, fail to process user input accurately (or
  10   at all) or “crash” altogether.
  11         428. Since its online ticket sales technology constitutes the essence of its
  12   business, Ticketmaster should foresee the need to protect it from bot attacks and
  13   other unauthorized uses that impede or prevent its functioning. Yet, Ticketmaster
  14   has failed to use reasonable care and employ the types of tools routinely used by
  15   other online sellers which Ticketmaster has the means itself to create or acquire
  16   with a capacity robust enough to accommodate the traffic, authorized or not, that
  17   Ticketmaster as an online seller of 70-80% of all concert tickets in the marketplace
  18   reasonably knows exists on its platform in general and should readily foresee with
  19   respect to a major performer such as Taylor Swift in particular who has not toured
  20   in years.
  21         429. Ticketmaster not only has breached its duty of care to maintain its
  22   platform adequately for its intended use by ticket buyers, it appears to have ceded
  23   that responsibility to third party data security providers such as Amazon by using
  24   that vendor’s CloudFront product but without expending the sums necessary for a
  25   version of that product that has sufficient capacity to deal with the issues that
  26   Ticketmaster reasonably should know its platform faces. Moreover, Ticketmaster
  27   has allowed other third parties, such as Klarna and Monetate, to run software on its
  28   platform that may impede its functioning and which gathers data behind the scenes

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   1   for Ticketmaster to use, sell or otherwise monetize the personal information of
   2   ticket purchasers without their knowledge and for the benefit of itself and of its
   3   parent Live Nation, both of whom also benefit from the increased ticket prices that
   4   its poor performing technology causes users to pay to be done with their frustrating
   5   online experience.
   6         430. As a direct and proximate result of the negligent failure of defendants
   7   Ticketmaster and Live Nation to use reasonable care in their interaction with them
   8   as prospective Taylor Swift concert ticket purchasers, Plaintiffs each have suffered
   9   economic damages in the thousands of dollars, as well as noneconomic damages
  10   for pain, suffering, loss of time, emotional distress and invasion of privacy, among
  11   other things, in amounts subject to proof at trial.
  12                               FIFTH CLAIM FOR RELIEF
  13                                    Antitrust Violations
  14                                 (Against All Defendants)
  15         431. Plaintiffs reallege and incorporate by reference each and every other
  16   paragraph of this complaint as if fully set forth here.
  17         432. Ticketmaster, including in collusion with SoFi Stadium and its own
  18   parent, Live Nation, has coordinated efforts to foreclose competition in the
  19   Primary Ticket Market and the Secondary Ticket Market, in violation of the
  20   Cartwright Act, Cal. Bus. & Prof. Code §§ 16700 et seq. Ticketmaster and Live
  21   Nation have been able to accomplish this violation, including with SoFi Stadium,
  22   because of the individual and collective market power that they wield over the sale
  23   of Taylor Swift tickets through their Primary Ticket Platform and Secondary
  24   Ticket Exchange.
  25         433. As set forth in greater detail below, Ticketmaster and Live Nation
  26   together conduct themselves as a “trust” defined in Cal. Bus. & Prof. Code §
  27   16720 and made illegal by § 16726, and involve therein third parties such as SoFi
  28   Stadium that agree to participate in their illegal activities. Ticketmaster requires

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   1   venues, and those such as SoFi Stadium agree, to use Ticketmaster’s Primary
   2   Ticket Platform exclusively for the initial sale of concert tickets, and did so
   3   specifically as to such tickets for Taylor Swift’s The Eras tour. Ticketmaster then
   4   forces ticket holders to use Ticketmaster as their exclusive provider of Secondary
   5   Ticket Exchange services from which it derives additional revenue.
   6   Ticketmaster’s practices have achieved and will achieve no legitimate efficiency
   7   benefits to counterbalance their demonstrated anticompetitive effects, including the
   8   foreclosure of competition in the Primary and Secondary Ticket Services Market
   9   and the unjust enrichment of Ticketmaster, Live Nation and their stadium co-
  10   conspirators, including SoFi Stadium.
  11   A.    First Antitrust Claim: Unlawful Tying
  12         434. Plaintiffs reallege and incorporate by reference each and every other
  13   paragraph of this complaint as if fully set forth here.
  14         435. Ticketmaster’s conduct in foreclosing competition in the Secondary
  15   Ticket Services Market for Taylor Swift tickets constitutes an illegal tying
  16   arrangement in violation of Cal. Bus. & Prof. Code § 16727. A tying arrangement
  17   is a conditional selling dependent on the purchase of another product or service.
  18         436. The Primary Ticket Market and the Secondary Ticket Market are
  19   distinct and separate markets. Taylor Swift and other touring musician tickets sold
  20   in the Primary Ticket Market and Secondary Ticket Market are distinct products.
  21         437. Ticketmaster possesses substantial market power over the sale of
  22   Taylor Swift and other touring musician tickets in the Primary Ticket Market. For
  23   those seeking to purchase primary Taylor Swift tickets, there is no other option but
  24   to make these purchases through Ticketmaster’s Primary Ticket Platform, at the
  25   price set by Ticketmaster, and on Ticketmaster’s terms.
  26         438. Ticketmaster and all the venues part of Taylor Swift’s upcoming tour,
  27   including SoFi Stadium and those owned or controlled by Live Nation, have
  28   agreed to and do mandate that all Taylor Swift tickets sold in the Primary Ticket

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   1   Market are not resold in the Secondary Ticket Market other than through
   2   Ticketmaster’s Secondary Ticket Exchange. Ticketmaster has actually canceled or
   3   threatened to cancel tickets in other cases unless ticket holders agree to use
   4   Ticketmaster exclusively for Secondary Ticket Exchange services. Ticketmaster
   5   has also previously revoked or threatened to revoke its continued sale of primary
   6   tickets to season ticket holders who are identified as reselling their primary tickets
   7   through any Secondary Ticket Exchange provider other than Ticketmaster. Thus,
   8   Ticketmaster is tying the sale of Taylor Swift tickets sold in the Primary Market to
   9   Ticketmaster’s Secondary Ticket Exchange services for the resale of Taylor Swift
  10   tickets. As a result of this tying arrangement, Taylor Swift ticket holders, who
  11   would otherwise prefer the Secondary Ticket Exchange services of providers other
  12   than Ticketmaster, including those offered by StubHub, SeatGeek and the like,
  13   have been forced to use Ticketmaster for Secondary Ticket Exchange services.
  14         439. This tying arrangement – which has been reinforced and strengthened
  15   by the exclusive marketing, promotion, and integration of Ticketmaster for
  16   Secondary Ticket Exchange services by the concert venues, including those owned
  17   or controlled by Live Nation as well as SoFi Stadium – has substantially foreclosed
  18   other Secondary Ticket Exchange providers from competing in the Secondary
  19   Ticket Market, thereby affecting a not insubstantial volume of commerce. It has
  20   harmed and will continue to harm competition in that market by forcing Taylor
  21   Swift ticket buyers and sellers in the Secondary Ticket Market to pay artificially
  22   high prices and fees and by reducing the quantity and quality of secondary Taylor
  23   Swift tickets available for sale and actually sold in the Secondary Ticket Market.
  24         440. Ticketmaster also created a tying arrangement regarding the presale of
  25   tickets for Taylor Swift’s “The Eras” tour in the Primary Ticket Market. So that
  26   potential buyers could purchase tickets during the presale, they needed to have
  27   “verified” Taylor Swift fan status. Buyers could prove such credentials by having
  28   tickets to Taylor Swift’s prior tour, “Lover Fest”, which was canceled due to

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   1   COVID-19. The other way to obtain verification was for a buyer to buy a non-
   2   insignificant amount of Taylor Swift merchandise. There was no cost-free way for
   3   a buyer to become verified, purchase of additional, separate items was required to
   4   be “verified”. Once verified, a buyer would be given a code. This code was
   5   supposed to be the only way to buy tickets during the presale.
   6         441. On the day of the presale, it became clear that getting tickets during
   7   the presale would be the only real way to get tickets from the Primary Ticket
   8   Market. Without engaging in the tying arrangement Ticketmaster had with the
   9   prior tour or the merchandise, it would have been impossible for non-verified
  10   buyers to get tickets. With 1.4 million codes allowing a buyer to get up to 6
  11   tickets, there were not going to be any tickets left after the pre-sale. Even if the
  12   sale of Taylor Swift tickets had gone as planned, buyers were being forced to pay
  13   additional fees just to have the chance of buying tickets.
  14         442. There are no legitimate business justifications or efficiencies for either
  15   of Ticketmaster’s tying arrangements that counterbalance their demonstrated
  16   anticompetitive effects. This tying arrangement constitutes a violation Cal. Bus. &
  17   Prof. Code, §§ 16720, 16727. Under California law, this is a per se violation.
  18   People v. Nat’l Ass’n of Realtors, 155 Cal. App. 3d 578, 583 (1984 ) (“Tying
  19   arrangements are illegal per se ‘whenever a party has sufficient economic power
  20   with respect to the tying product to appreciably restrain free competition in the
  21   market for the tied product’ … and when ‘a total amount of … business,
  22   substantial enough in terms of dollar-volume so as not to be merely de minimis, is
  23   foreclosed to competitors by the tie ....’”) (citations omitted).
  24         443. As a direct and proximate result of Defendants’ illegal tying
  25   arrangements, Plaintiffs have been and will continue to be injured in their property
  26   in an amount not presently known with precision, but which is, at minimum,
  27   thousands of dollars per Plaintiff before mandatory trebling.
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   1         444. Pursuant to Bus. & Prof. Code § 16750(a), Plaintiffs have the right to
   2   recover the fees of their attorneys they reasonably incur in this action, according to
   3   proof, as well as interest on their actual damages at the statutory rate, and to
   4   preliminary and permanent injunctive relief to stop Defendants’ unlawful conduct.
   5         445. Defendants’ illegal tying arrangements violate obligations to Plaintiffs
   6   not arising from contract and constitute willful misconduct that is fraudulent,
   7   oppressive and/or malicious so as to entitle Plaintiffs, in addition to trebled actual
   8   damages, punitive damages to make an example of and to punish Defendants in an
   9   amount to be proven at trial.
  10   B.    Second Antitrust Claim: Exclusive Dealings
  11         446. Plaintiffs reallege and incorporate by reference each and every other
  12   paragraph of this complaint as if fully set forth here.
  13         447. Ticketmaster’s conduct has allowed it to control the supply of tickets
  14   to music concerts. In order for artists like Taylor Swift to sell to buyers wanting to
  15   see them in concert, the buyers and artists must go through Ticketmaster. This has
  16   forced both groups into exclusive dealings with Ticketmaster that lessen
  17   competition as well as created and strengthened Ticketmaster’s monopolistic
  18   power, which violates California law. See Cal. Bus. & Prof. Code, § 16727.
  19         448. Ticketmaster has dominant, monopolistic power in the market of
  20   Primary and Secondary Ticket Markets. Ticketmaster currently controls between
  21   70 and 80 percent of this market, according to published sources. Ticketmaster’s
  22   high market share as well as its agreements with concert venues have given it
  23   extreme power. While a small percentage of concert venues use other providers,
  24   for most Californians and Americans, Ticketmaster is the only provider available.
  25         449. Ticketmaster’s forced exclusive dealings, and the willing complicity
  26   therein by venues such as SoFi Stadium, have allowed it to charge above-market
  27   prices and excessive fees while preventing competition against them. In markets
  28   without a singular, monopolistic company, charging prices and fees like

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   1   Ticketmaster would be impossible. And Ticketmaster does not do anything to
   2   justify these higher costs. Ticketmaster’s service is not superior or reliable; the
   3   massive disaster of the Taylor Swift presale is evidence enough of this.
   4   Ticketmaster does not charge high prices to give a better service, it charges higher
   5   prices because it has no real competition and wants to take every dollar it can from
   6   buyers.
   7         450. The foreclosure of competition has led to increased prices and/or
   8   decreased output and has harmed competition.
   9         451. There is no legitimate business justification or efficiency gained for
  10   these exclusive dealings. All it does it take money from the hands of artists and
  11   buyers and into the hands of Ticketmaster, a purely anticompetitive effect that is
  12   actionable under California law. See Gianelli Distributing Co. v. Beck & Co., 172
  13   Cal. App. 3d 1020 (1985). As a result, Plaintiffs have been and will continue to be
  14   injured in their property.
  15         452. As a direct and proximate result of Defendants’ illegal exclusive
  16   dealing arrangements, Plaintiffs have been and will continue to be injured in their
  17   property in an amount not presently known with precision, but which is, at
  18   minimum, thousands of dollars per Plaintiff before mandatory trebling.
  19         453. Pursuant to Bus. & Prof. Code § 16750(a), Plaintiffs have the right to
  20   recover the fees of their attorneys they reasonably incur in this action, according to
  21   proof, as well as interest on their actual damages at the statutory rate, and to
  22   preliminary and permanent injunctive relief to stop Defendants’ unlawful conduct.
  23         454. Defendants’ illegal exclusive dealing arrangements violate obligations
  24   to Plaintiffs not arising from contract and constitute willful misconduct that is
  25   fraudulent, oppressive and/or malicious so as to entitle Plaintiffs, in addition to
  26   trebled actual damages, punitive damages to make an example of and to punish
  27   Defendants in an amount to be proven at trial.
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   1   C.     Third Antitrust Claim: Price Discrimination
   2          455. Plaintiffs reallege and incorporate by reference each and every other
   3   paragraph of this complaint as if fully set forth here.
   4          456. Ticketmaster’s conduct in changing pricing during sales on its
   5   Primary Ticket Platform and manipulation of its Secondary Ticket Market for
   6   Taylor Swift tickets constitutes price discrimination in violation of Cal. Bus. &
   7   Prof. Code, § 17031. See Harris v. Capitol Records Distributing Corp., 64 Cal.2d
   8   454 (1966). Price discrimination involves giving different prices to different
   9   buyers the sane or comparable goods in the same location.
  10          457. Not all concert tickets are of equal value. Different venues may vary
  11   in general admission prices, groups of seats vary in desirability, and some tickets
  12   come with VIP benefits. However, seats that have about the same view of the
  13   musician, at the same venue, and with the same amount of VIP benefits are
  14   essentially equal in value and should sell at a similar price.
  15          458. Under Ticketmaster’s dynamic pricing scheme, comparable tickets
  16   were sold at radically different prices. Dynamic pricing is when Ticketmaster
  17   raises the prices of tickets as more tickets are selling, justifying it as the tickets are
  18   more in demand and, and are thus more valuable. Taylor Swift did not opt for
  19   dynamic pricing, but Ticketmaster implemented it anyways.
  20          459. Ticketmaster justifies this pricing as meeting demand. However, this
  21   argument is nonsensical. Ticketmaster does not raise prices when a large number
  22   of people are in a waiting queue to buy tickets, it only raises ticket prices as fewer
  23   tickets remain. Rather than “meeting demand,” Ticketmaster arbitrarily punishes
  24   the people that were unable to get to the front of the line. Those who buy tickets
  25   under dynamic pricing are paying higher prices solely because Ticketmaster has
  26   created the flimsiest of excuses to justify anticompetitively taking additional
  27   money for itself.
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   1         460. Ticketmaster’s behavior has not been to the benefit of honest buyers,
   2   but to the benefit of scalpers. Ticketmaster failed to stop millions of people without
   3   codes from buying during the presale, many of whom were scalpers. And
   4   Ticketmaster benefits from scalpers. Ticketmaster gets additional fees every time a
   5   ticket is resold, and Ticketmaster is the only place where tickets can be officially
   6   resold. Ticketmaster also prevents sellers from charging below a certain price.
   7   Ticketmaster has set up a system where scalping is not only allowed, but tacitly
   8   encouraged. And Ticketmaster is able to do all of this because of its monopoly
   9   power. As a result of Ticketmaster’s behavior, Plaintiffs have been and will
  10   continue to be injured in their property.
  11         461. As a direct and proximate result of Defendants’ illegal price
  12   discrimination, Plaintiffs have been and will continue to be injured in their
  13   property in an amount not presently known with precision, but which is, at
  14   minimum, thousands of dollars per Plaintiff before mandatory trebling.
  15         462. Pursuant to Bus. & Prof. Code § 16750(a), Plaintiffs have the right to
  16   recover the fees of their attorneys they reasonably incur in this action, according to
  17   proof, as well as interest on their actual damages at the statutory rate, and to
  18   preliminary and permanent injunctive relief to stop Defendants’ unlawful conduct.
  19         463. Defendants’ illegal price discrimination arrangements violate
  20   obligations to Plaintiffs not arising from contract and constitute willful misconduct
  21   that is fraudulent, oppressive and/or malicious so as to entitle Plaintiffs, in addition
  22   to trebled actual damages, punitive damages to make an example of and to punish
  23   Defendants in an amount to be proven at trial.
  24   D.    Fourth Antitrust Claim: Price Fixing
  25         464. Plaintiffs reallege and incorporate by reference each and every other
  26   paragraph of this complaint as if fully set forth here.
  27         465. Ticketmaster’s conduct of allying with scalpers and venues has
  28   amounted to price fixing. Horizontal price fixing involves competitors allying to

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   1   set one price for any product, commodity, or service through any agreement to
   2   raise, stabilize or otherwise affect prices. This agreement does not need to be
   3   formalized.
   4         466. This agreement has allowed Ticketmaster to raise prices above what it
   5   would be able to otherwise. Because Ticketmaster has competitors like SeatGeek
   6   charge ticket prices at the same cost as Ticketmaster, it prevents buyers from being
   7   able to find a cheaper alternative. The only way prices could stay this high for
   8   both Ticketmaster and its competitors is through an agreement between them in
   9   violation of California antitrust laws.
  10         467. Ticketmaster has also committed vertical price fixing. Vertical price
  11   fixing makes any agreement between a buyer and seller regarding the price at
  12   which the buyer resells a product illegal. Under California law, this is a per se
  13   violation of the Cartwright Act. Mailand v. Burckle, 20 Cal. 3d 376 (Cal. 1978).
  14         468. Ticketmaster has controlled the resale of tickets bought through it.
  15   Ticketmaster forces buyers to resell on its platform. And Ticketmaster controls
  16   what prices the buyer can resell at. This prevents the price of tickets from falling
  17   and forces new buyers to pay higher prices under dynamic prices. If Ticketmaster
  18   did not do this, it might decrease the number of people willing to pay for the
  19   monopolistic priced dynamic pricing tickets.
  20         469. As a direct and proximate result of Defendants’ illegal price fixing,
  21   Plaintiffs have been and will continue to be injured in their property in an amount
  22   not presently known with precision, but which is, at minimum, thousands of
  23   dollars per Plaintiff before mandatory trebling.
  24         470. Pursuant to Bus. & Prof. Code § 16750(a), Plaintiffs have the right to
  25   recover the fees of their attorneys they reasonably incur in this action, according to
  26   proof, as well as interest on their actual damages at the statutory rate, and to
  27   preliminary and permanent injunctive relief to stop Defendants’ unlawful conduct.
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   1         471. Defendants’ illegal price fixing arrangements violate obligations to
   2   Plaintiffs not arising from contract and constitute willful misconduct that is
   3   fraudulent, oppressive and/or malicious so as to entitle Plaintiffs, in addition to
   4   trebled actual damages, punitive damages to make an example of and to punish
   5   Defendants in an amount to be proven at trial.
   6   E.    Fifth Antitrust Claim: Group Boycotting
   7         472. Plaintiffs reallege and incorporate by reference each and every other
   8   paragraph of this complaint as if fully set forth here.
   9         473. Ticketmaster and Live Nation also must adhere to the agreement it
  10   reached with the Justice Department, forbidding it from threatening concert venues
  11   with losing access to its tours if those venues decided to use ticketing providers
  12   other than Ticketmaster. This agreement has been extended to 2025. Despite this
  13   agreement, Ticketmaster and Live Nation, in collusion with other stadiums
  14   including SoFi Stadium. have continued to engage in group boycotting, where
  15   competitors ally together to boycott any specific entity.
  16         474. Ticketmaster has engaged in a group boycott with competitors like
  17   SeatGeek in its relevant market to refuse to conduct business with any competitor
  18   that does not conform to Ticketmaster’s demands. Ticketmaster does this through
  19   its monopolistic size and power as well as its collusion with concert venues. Any
  20   competitor of Ticketmaster that does conform to its demands will be barred from
  21   doing business with most if not all large concert venues. This has been done to
  22   both inflate prices and prevent new competitors from entering the market, all to
  23   Ticketmaster’s benefit.
  24         475. The Ticketmaster-led group boycotting is a violation of California law
  25   and has helped keep ticket prices at an above-market price. It also has allowed
  26   Ticketmaster to force Plaintiffs to buy tickets at these inflated prices to Plaintiffs’
  27   harm, and as a result, Plaintiffs have been and will continue to be injured in their
  28   property.

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   1         476. As a direct and proximate result of Defendants’ illegal group
   2   boycotting, Plaintiffs have been and will continue to be injured in their property in
   3   an amount not presently known with precision, but which is, at minimum,
   4   thousands of dollars per Plaintiff before mandatory trebling.
   5         477. Pursuant to Bus. & Prof. Code § 16750(a), Plaintiffs have the right to
   6   recover the fees of their attorneys they reasonably incur in this action, according to
   7   proof, as well as interest on their actual damages at the statutory rate, and to
   8   preliminary and permanent injunctive relief to stop Defendants’ unlawful conduct.
   9         478. Defendants’ illegal group boycotting arrangements violate obligations
  10   to Plaintiffs not arising from contract and constitute willful misconduct that is
  11   fraudulent, oppressive and/or malicious so as to entitle Plaintiffs, in addition to
  12   trebled actual damages, punitive damages to make an example of and to punish
  13   Defendants in an amount to be proven at trial.
  14   F.    Sixth Antitrust Claim: Market Division Scheme
  15         479. Plaintiffs reallege and incorporate by reference each and every other
  16   paragraph of this complaint as if fully set forth here.
  17         480. Ticketmaster, in collusion with its parent Live Nation as well as
  18   stadiums not owned by Live Nation, including SoFi Stadium, has engaged in a
  19   market division scheme, by which it has divided customers into certain regions
  20   with its competitors. This violates California antitrust law.
  21         481. Ticketmaster has monopoly power, but it still has smaller competitors.
  22   It has specifically carved out small territories to give to competitors like SeatGeek
  23   in an attempt to hide the level of monopolistic power and control Ticketmaster has.
  24   In exchange for giving SeatGeek territory, Ticketmaster has made SeatGeek set
  25   price tickets at the same high price as Ticketmaster. This allows these competitors
  26   to set high prices and not actually compete with each other.
  27         482. There are no pro-competitive benefits to this arrangement. This
  28   arrangement has effectively ended competition in this market and has allowed

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   1   Ticketmaster to unilaterally set prices. Buyers have no choice in who they buy
   2   tickets from and are forced to pay monopolistic pricing set by Ticketmaster.
   3         483. Ticketmaster has carved up the market by territory to keep prices
   4   high. This has allowed them to continue their monopolistic control and pricing, and
   5   as a result, Plaintiffs have been and will continue to be injured in their property.
   6         484. As a direct and proximate result of Defendants’ illegal market
   7   division scheme, Plaintiffs have been and will continue to be injured in their
   8   property in an amount not presently known with precision, but which is, at
   9   minimum, thousands of dollars per Plaintiff before mandatory trebling.
  10         485. Pursuant to Bus. & Prof. Code § 16750(a), Plaintiffs have the right to
  11   recover the fees of their attorneys they reasonably incur in this action, according to
  12   proof, as well as interest on their actual damages at the statutory rate, and to
  13   preliminary and permanent injunctive relief to stop Defendants’ unlawful conduct.
  14         486. Defendants’ illegal market division scheme violates obligations to
  15   Plaintiffs not arising from contract and constitute willful misconduct that is
  16   fraudulent, oppressive and/or malicious so as to entitle Plaintiffs, in addition to
  17   trebled actual damages, punitive damages to make an example of and to punish
  18   Defendants in an amount to be proven at trial.
  19                               SIXTH CLAIM FOR RELIEF
  20                   Violation of Cal. Bus. & Prof. Code §§ 17200 et seq.
  21                                  (Against All Defendants)
  22         487. Plaintiffs reallege and incorporate by reference each and every other
  23   paragraph of this complaint as if fully set forth here.
  24         488. Ticketmaster in collusion with its parent Live Nation as well as
  25   stadiums not owned by Live Nation, including SoFi Stadium, has used additional
  26   unfair practices to make it difficult for ticket holders to sell their tickets on
  27   competitive Secondary Ticket Exchanges. Ticketmaster has done this by
  28   leveraging its position as a dominant provider of Primary Ticket Services.

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   1         489. As found by the Department of Justice, Ticketmaster has historically
   2   dominated the market for Primary Ticket Services. It has maintained its control
   3   over this business by entering into numerous multi-year, exclusive contracts with
   4   leagues, teams, managers and venues. Indeed, Ticketmaster’s market power in the
   5   Primary Ticket Market is evidenced by the high fees that it has charged and
   6   continues to charge for Primary Ticket Services – fees that are substantially higher
   7   than fees charged by competitors for the same services.
   8         490. Moreover, Ticketmaster’s power in the market for Primary Ticket
   9   Services is buttressed by high barriers to entry and expansion in this business,
  10   including barriers created by Ticketmaster’s threats to enforce its multi-year,
  11   exclusive agreements. Ticketmaster has, for example, threatened action against
  12   StubHub, a much smaller competitor, for even approaching Ticketmaster business
  13   partners with offers to sell additional, unsold ticket inventory, claiming that such
  14   overtures would constitute tortious interference with Ticketmaster’s exclusive
  15   contracts. Specifically, Ticketmaster cautioned StubHub that: “It has come to our
  16   attention that StubHub is approaching Ticketmaster clients seeking to sell our
  17   client’s primary tickets. As is well known in the industry. . . Ticketmaster’s client
  18   ticketing contracts are generally exclusive and therefore contain contractual
  19   commitments by our clients not to sell primary tickets through any third-party.”
  20   Ticketmaster has likewise imposed contractual restrictions in its Primary Ticket
  21   Services contracts that preclude teams, leagues, venues and other parties from
  22   distributing any of their tickets through actual or perceived competitors.
  23         491. Specifically, and among other things, Ticketmaster has exercised its
  24   dominance in Primary Ticket Services by delaying the delivery of the electronic
  25   copy of the originally purchased, primary ticket or the barcode associated with that
  26   ticket to the primary ticket purchaser. Ticketmaster has chosen to delay the
  27   delivery of PDF images or barcodes associated with original, primary tickets for
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   1   numerous musical concerts until weeks or months after the ticket was purchased
   2   and only a few days before the relevant event.
   3         492. This practice makes it extremely difficult for a primary ticket
   4   purchaser to resell his or her ticket on competitive non-Ticketmaster Secondary
   5   Ticket Exchanges. Indeed, the delaying of the delivery of these tickets or bar
   6   codes effectively bars the reseller from selling that ticket on such competitive
   7   exchanges. This is because ticket purchasers are reluctant to purchase a ticket on a
   8   Secondary Ticket Exchange from a stranger (with no brand recognition) in the
   9   hope that the reseller will transfer the tickets weeks or months after a secondary
  10   ticket purchase occurs.
  11         493. Of course, Ticketmaster facilitates secondary purchases on its own
  12   Secondary Ticket Exchange even before delivering the primary ticket to the
  13   reseller: it guarantees that it will directly deliver the ticket to the secondary
  14   purchaser at a designated delivery time, likely a few days before the event, if a
  15   secondary transaction is made. StubHub and other competitors for Secondary
  16   Ticket Services cannot provide this same direct delivery guarantee because
  17   Ticketmaster prevents them from electronically integrating with its Primary Ticket
  18   Platform. This practice of delaying delivery of primary tickets has caused ticket
  19   holders to incur consumer harm and has caused competitive foreclosure to other
  20   Secondary Ticket Exchanges.
  21         494. Another tactic in which Ticketmaster has engaged to leverage its
  22   dominance in the market for Primary Ticket Services is its increased issuance of
  23   so-called paperless tickets. These virtual tickets allow entry to the event only upon
  24   showing at the gate picture identification and the credit card used for the purchase.
  25   Transferring or reselling these tickets is only possible through Ticketmaster’s
  26   Secondary Ticket Exchange. According to the independent American Antitrust
  27   Institute, “[i]nstead of benefiting consumers, the trend favoring paperless tickets
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   1   appears to be motivated by a desire of the dominant primary ticket provider to
   2   block out competition in the secondary ticket (resale) market.”
   3         495. These practices are unlawful business acts or practices within the
   4   meaning of California’s Unfair Competition Law, Bus/ & Prof. Code §§ 17200 et
   5   seq. (“UCL”).
   6         496. Ticketmaster also has made deceptive and/or false statements
   7   intended to mislead consumers about the reliability of other Secondary Ticket
   8   Exchange, the authenticity of Taylor Swift tickets sold on other Secondary Ticket
   9   Exchange, and the ability of purchasers to obtain secondary Taylor Swift tickets
  10   from sources other than Ticketmaster.
  11         497. Such unlawful, unfair, and deceptive practices are ongoing and
  12   continue to date and should be enjoined by this Court.
  13         498. Ticketmaster’s unlawful, unfair, and deceptive business practices have
  14   caused Plaintiffs to part with value in an amount not presently known with
  15   precision, but which is, at minimum, in the thousands of dollars per plaintiff, to
  16   which each is entitled to restitution.
  17                                  PRAYER FOR RELIEF
  18         Wherefore, Plaintiffs pray for judgment in their favor as follows:
  19         1.     On the First Claim for Relief, for damages according to proof, in
  20   amounts reaching thousands of dollars per plaintiff.
  21         2.     On the Second Claim for Relief:
  22                a.     For damages according to proof, in amounts reaching thousands
  23         of dollars per plaintiff; and
  24                b.     For punitive damages adequate in light of Defendants’ adequate
  25         net worth to make an example of and to punish them, in an amount to be
  26         proven at trial.
  27         3.     On the Third Claim for Relief, for damages according to proof, in
  28   amounts reaching thousands of dollars per plaintiff.

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   1        4.    On the Fourth Claim for Relief:
   2              a.     For economic damages according to proof, in amounts reaching
   3        thousands of dollars per plaintiff; and
   4              b.      For noneconomic damages to each plaintiff according to proof.
   5        5.    On the Fifth Claim for Relief:
   6              a.     For actual damages according to proof, in amounts reaching
   7        thousands of dollars per plaintiff;
   8              b.     For mandatory trebling of each plaintiff’s actual damages;
   9              c.     For interest on the actual damages of each plaintiff at the
  10        statutory rate;
  11              d.     For the fees of their attorneys reasonably incurred herein,
  12        according to proof;
  13              e.     For injunctive relief prohibiting further acts by Defendants in
  14        restraint of trade, including such mandatory injunctions as may reasonably
  15        be necessary to restore and preserve fair competition, and by disgorging ill-
  16        gotten gains arising from its anticompetitive acts; according to proof; and
  17              f.     For punitive damages adequate in light of Defendants’ net
  18        worth adequate to make an example of and to punish them, in an amount to
  19        be proven at trial.
  20        6.    On the Sixth Claim for Relief:
  21              a.     For restitution to Plaintiffs, according to proof, in amounts
  22        reaching thousands of dollars per plaintiff; and
  23              b.     For injunctive relief prohibiting further unlawful, unfair or
  24        fraudulent business acts or practices by Defendants, according to proof.
  25        7.    On all causes of action:
  26              a.     For costs of suit; and
  27

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   1              b.     For such other and further relief as the Court may deem just and
   2        proper.
   3
       DATED: April 6, 2023                 ___/s/ John Genga___________________
   4
                                                   John M. Genga
   5                                        GENGA & ASSOCIATES, P.C.
                                            Attorneys for Plaintiffs
   6
                                            JULIE BARFUSS et al.
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   1                              DEMAND FOR JURY TRIAL
   2         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs
   3   hereby demand trial by jury on all issues so triable.
   4
       DATED: April 6, 2023                    ___/s/ John Genga___________________
   5
                                                      John M. Genga
   6                                           GENGA & ASSOCIATES, P.C.
                                               Attorneys for Plaintiffs
   7
                                               JULIE BARFUSS et al.
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